                             EXHIBIT A
                               FILED UNDER SEAL




                                    7010
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                                                                                                           

                                                                                                        
                                                                

                                          

                                           

                                                              

          
                                                          
                                                                   
                                                          
                                                                   
                                                                 
                                                                   
                                                       
                                                                   
                                                                   
                                                                       
                           
                                                             

                                                                       
                                                                           
                                                                        
                                              
        
                                                              
        
                         
        
                                                           
        
                  
        

                                           
                                                
                             7011
                                                     
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        
                                                   
        

        

        

        
                                                                                 
                                                                               
                                                                                       

                                                                                    
                                                                   

                  

          
                               
                                              
                                                  
                                                 
                                                 
          

                                           

          

                                     
                                          
          

                                            

        
                                       
                                         
                                             
                                         

        
                                            
        

                                                       

        

        

                                  7012
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        

        

        

        

        

        
                                                                                               

                                                                                          
                                                                

                                                     

          

                                         

                  

          

                                                

                      

                                            

                           

                        

                 

                                         

                           

                       

                

                                             

                   

                                           

                  
                                 7013        
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                         

                    

                                           

                                            

                         

                                           
                                                                                               

                                                                                         
                                                                

                            

                             

                           

                           

                             

                         

                         

                                              

                          

                         

                        

                        

                           

                   

                                           

                          

                         

                       

                  
                                 7014      
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                                            

                            

                          

                           

                          

                           
                                                                                              

                                                                                        
                                                                

                  

                                             

                            

                        

                                           

                        

                        

                         

                          

                        

                         

                       

                         

                        

                         

                      

                                         

                          

                  
                                 7015             
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                    

                                           

                     

                                            

                            

                              
                                                                                               

                                                                                            
                                                                

                          

                    

                                              

                            

                          

                           

                            

                  

                                          

                         

                         

                   

                                      

                                          

                         

                         

                         

                        

                  
                                 7016      
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                          

                     

                                       

                                          

                       

                       
                                                                                                

                                                                                         
                                                                

                        

                          

                       

                         

                                           

                     

                                              

                              

                   

                                          

                           

                         

                          

                    

                                         

                           

                          

                                            

                  
                                 7017     
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                        

                                             

                    

                                          

                           

                          
                                                                                               

                                                                                         
                                                                

                       

                                           

                   

                                            

                           

                          

                   

                                           

                         

                         

                                            

                         

                          

                 

                                             

                          

                        

                        

                  
                                 7018      
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                          

                    

                                         

                        

                         

                 
                                                                                               

                                                                                         
                                                                

                                              

                             

                          

                          

                         

                          

                          

                                            

                           

                         

                       

                         

                                           

                       

                         

                                            

                       

                                          

                 
                                7019          
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                         

                         

                           

                        

                      

                                           
                                                                                               

                                                                                        
                                                                

                            

                           

                         

                  

                                              

                       

                                             

                          

                           

                        

                        

                         

                       

                         

                          

                          

                         

                                           

                  
                                 7020             
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                     

                                           

                         

                        

                       

                                            
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                                    7021
                                                                                             

                                                                                        
                                                                

                                            

                           

                           

                           

                         

                  

                                            

                             

                          

                        

                          

                         

                      

                                    

                                             

                           

                       

                                        

                                   
                                     7022          
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                           

                            

                        

                           

                            

                          
                                                                                               

                                                                                         
                                                                

                           

                            

                          

                   

                                             

                          

                             

                             

                             

                         

                         

                       

                          

                          

                       

                                            

                     

                                       

                                   
                                     7023          
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                        

                        

                          

                          

                         

                        
                                                                                                       

                                                                                                 
                                                                

                     

                                        

                                            

                        

                                              

                             

                              

                           

                    

                                             

                          

                  

                                            

                 

                                       

                                             

                         

                                                          

                   
                                  7024  
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                                             

                          

                                              

                     

                                          

                                              
                                                                                               

                                                                                           
                                                                

                           

                            

                       

                                             

                         

                                              

                           

                           

                          

                    

                                              

                   

                                       

                                            

                         

                             

                            

                          

                        7025
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                                           

                        

                        

                     

                                              

                     
                                                                                               

                                                                                        
                                                                

                                            

                        

                       

                        

                          

                             

                      

                                             

                            

                          

                          

                            

                     

                                            

                           

                           

                          

                          

                  
                                 7026      
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                         

                         

                       

                          

                        

                 
                                                                                                

                                                                                            
                                                                

                                          

                           

                           

                   

                                              

                                       

                                              

                       

                                            

                                             

                        

                         

                          

                 

                                             

                         

                           

                                         

                 
                                7027
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                                          

                                      

                                            

                            

                           

                           
                                                                                                 

                                                                                          
                                                                

                          

                      

                                           

                                            

                          

                           

                           

                   

                                               

                                         

                                        

                                          

                          

                                             

                          

                       

                                             

                          

                  7028
                                          
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                        

                         

                                              

                           

                         

                      
                                                                                                 

                                                                                            
                                                                

                                              

                  

                                               

                         

                                            

                        

                         

                                           

                                               

                           

                          

                                           

                  

                                           

                     

                                              

                                            

                     

                                   
                                     7029   
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                                         

                                           

                          

                           

                       

                                             
                                                                                                

                                                                                          
                                                                

                                      

                              

                           

                  

                                           

                           

                            

                           

                                          

                        

                        

                        

                          

                          

                         

                   

                                           

                       

                 
                                7030       
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                      

                                            

                         

                        

                        

                        
                                                                                              

                                                                                         
                                                                

                             

                         

                         

                         

                        

                          

                     

                                     

                                               

                         

                             

                          

                    

                                        

                       

                       

                                          

                          

                  
                                 7031  
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                                            

                          

                  

                                          

                            

                          
                                                                                              

                                                                                        
                                                                

                                            

                      

                                             

                           

                          

                           

                         

                           

                        

                     

                         

                          

                     

                                           

                           

                        

                                           

                         

                  
                                 7032             
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                          

                        

                       

                            

                          

                    
                                                                                              

                                                                                         
                                                                

                                           

                         

                          

                      

                                          

                          

                        

                         

                         

                        

                        

                          

                           

                     

                                             

                       

                                           

                

                                   
                                     7033        
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                           

                                            

                         

                       

                                    

                                              
                                                                                                

                                                                                        
                                                                

                             

                           

                     

                                             

                          

                     

                                        

                                            

                 

                                            

                           

                        

                                           

                          

                          

                       

                                             

                          

                   
                                  7034             
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                        

                     

                      

                            

                       

                                             
                                                                                               

                                                                                         
                                                                

                           

                              

                  

                                           

                       

                      

                                             

                          

                           

                                        

                                            

                          

                          

                          

                                          

                                            

                     

                                            

                   7035
                                            
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                           

                      

                 

                                            

                          

                          
                                                                                               

                                                                                          
                                                                

                                       

                                               

                       

                                           

                       

                         

                     

                                                

                             

                            

                           

                        

                           

                     

                                      

                                           

                           

                         

                         
                                 7036
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                         

                                            

                          

                          

                          

                         
                                                                                               

                                                                                        
                                                                

                                           

                          

                         

                        

                            

                          

                  

                                            

                        

                         

                           

                       

                   

                                           

                        

                         

                        

                          

                     
                                 7037
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                                            

                          

                          

                           

                  

                                        
                                                                                              

                                                                                        
                                                                

                          

                        

                           

                        

                                             

                         

                          

                            

                         

                  

                                            

                          

                          

                       

                       

                       

                 

                                          

                 
                                7038        
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                         

                      

                                         

                            

                          

                         
                                                                                              

                                                                                         
                                                                

                            

                          

                        

                     

                                           

                         

                          

                         

                  

                                             

                           

                   

                                          

                           

                           

                          

                        

                         

                                   
                                     7039         
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                           

                    

                                             

                          

                        

                          
                                                                                                 

                                                                                         
                                                                

                            

                             

                           

                             

                         

                         

                  

                                       

                                              

                           

                         

                          

                           

                            

                           

                             

                        

                   

                                   
                                     7040      
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                         

                            

                       

                          

                   

                                              
                                                                                               

                                                                                        
                                                                

                             

                         

                         

                         

                       

                                             

                            

                          

                           

                         

                          

                        

                                            

                   

                                         

                                            

                       

                         

                       
                                7041
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                           

                         

                       

                         

                          

                          
                                                                                                

                                                                                         
                                                                

                         

                        

                 

                                              

                            

                                           

                        

                         

                  

                                           

                         

                        

                                           

                  

                                             

                          

                       

                                             

                
                               7042       
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                       

                                             

                             

                      

                        

                         
                                                                                                 

                                                                                         
                                                                

                  

                                             

                         

                                        

                                             

                          

                                       

                                         

                                              

                           

                       

                                            

                          

                          

                        

                                          

                           

                         

                
                               7043       
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                           

                           

                         

                

                                              

                          
                                                                                               

                                                                                         
                                                                

                          

                          

                           

                            

                            

                                             

                                               

                     

                                             

                  

                                             

                        

                         

                   

                                            

                        

                         

                    

                                   
                                     7044        
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                         

                           

                         

                        

                          

                          
                                                                                              

                                                                                         
                                                                

                  

                                           

                           

                          

                           

                           

                         

                                           

                        

                           

                        

                          

                        

                       

                 

                                             

                            

                     

                                   
                                     7045       
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                       

                                           

                         

                                      

                                          

                         
                                                                                              

                                                                                         
                                                                

                          

                         

                     

                                             

                            

                          

                         

                                            

                         

                            

                          

                                       

                                       

                                        

                                            

                         

                         

                         

                  
                                 7046  
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                                             

                    

                                           

                                              

                                             

                        
                                                                                                

                                                                                          
                                                                

                         

                           

                          

                           

                          

                                       

                                              

                          

                         

                       

                     

                                             

                          

                           

                         

                 

                                          

                          

                 
                                7047        
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                             

                     

                                              

                            

                           

                         
                                                                                               

                                                                                          
                                                                

                                       

                                                

                            

                               

                   

                                             

                          

                             

                           

                         

                           

                         

                       

                            

                           

                            

                         

                          

                  
                                 7048        
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                     

                                             

                          

                         

                          

                           
                                                                                               

                                                                                           
                                                                

                  

                                             

                           

                         

                          

                         

                      

                                           

                                            

                          

                                             

                   

                                            

                           

                         

                 

                                          

                 

                                   
                                     7049         
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                           

                

                                          

                                           

                        

                         
                                                                                             

                                                                                        
                                                                

                            

                       

                                       

                                            

                                             

                           

                            

                            

                             

                             

                        

                  

                                            

                            

                           

                         

                        

                          

                  
                                 7050          
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                                     

                                            

                         

                         

                       

                   
                                                                                               

                                                                                        
                                                                

                                           

                         

                           

                             

                            

                         

                           

                    

                                            

                          

                        

                         

                          

                         

                           

                   

                                            

                           

                   
                                  7051       
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                        

                 

                                            

                          

                          

                        
                                                                                                

                                                                                         
                                                                

                          

                   

                                            

                         

                          

                      

                                       

                                             

                          

                     

                                             

                         

                 

                                             

                            

                          

                 

                                             

                       
                                7052
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                         

                     

                                            

                 

                                              

                            
                                                                                               

                                                                                          
                                                                

                          

                  

                                            

                           

                          

                     

                                             

                          

                                              

                          

                          

                        

                         

                     

                                     

                                              

                          

                          

                 
                                7053          
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                                              

                        

                       

                                            

                         

                  
                                                                                               

                                                                                          
                                                                

                                                

                     

                                        

                                        

                                               

                                        

                                           

                           

                         

                          

                       

                  

                                            

                           

                           

                          

                                            

                 

                                   
                                     7054         
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                         

                        

                         

                          

                           

                          
                                                                                              

                                                                                         
                                                                

                                             

                            

                          

                       

                            

                           

                          

                            

                           

                        

                           

                          

                       

                           

                           

                       

                         

                      

                                   
                                     7055     
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                                              

                          

                           

                          

                          

                           
                                                                                                

                                                                                         
                                                                

                      

                                             

                            

                   

                                              

                          

                         

                            

                          

                         

                

                                           

                           

                          

                         

                                            

                        

                          

                  
                                 7056              
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                         

                         

                    

                                             

                          

                          
                                                                                              

                                                                                         
                                                                

                          

                   

                                              

                           

                          

                          

                       

                                            

                          

                            

                          

                                          

                          

                         

                            

                         

                                             

                           

                  
                                 7057        
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                         

                        

                         

                          

                          

                  
                                                                                               

                                                                                         
                                                                

                                             

                           

                           

                            

                          

                  

                                           

                           

                                            

                          

                         

                           

                  

                                            

                         

                        

                            

                             

                  
                                 7058        
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                      

                                           

                         

                          

                           

                         
                                                                                              

                                                                                       
                                                                

                           

                        

                         

                         

                          

                                          

                          

                         

                     

                                           

                          

                        

                 

                                          

                         

                        

                         

                         

                 
                                7059         
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                         

                          

                    

                                           

                         

                           
                                                                                                

                                                                                        
                                                                

                            

                   

                                         

                          

                           

                          

                           

                          

                                           

                        

                       

                         

                                          

                       

                      

                                             

                        

                       

                
                               7060      
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                                          

                       

                           

                          

                            

                          
                                                                                                

                                                                                        
                                                                

                       

                     

                                       

                                            

                            

                          

                           

                          

                         

                      

                                          

                            

                           

                          

                          

                           

                          

                         

                 
                                7061          
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                          

                   

                                             

                         

                          

                          
                                                                                                

                                                                                        
                                                                

                        

                           

                         

                        

                                            

                          

                          

                               

                     

                                           

                           

                          

                          

                       

                                            

                     

                                             

                   

                                   
                                     7062         
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                 

                                           

                           

                

                                           

                         
                                                                                              

                                                                                         
                                                                

                            

                            

                          

                         

                  

                                         

                        

                           

                       

                                            

                        

                         

                          

                       

                                           

                          

                                         

                         

                  
                                 7063          
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                       

                         

                          

                                           

                  

                                            
                                                                                              

                                                                                          
                                                                

                             

                           

                          

                          

                        

                          

                          

                         

                          

                          

                            

                           

                         

                         

                          

                                           

                           

                  

                                   
                                     7064        
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                                             

                   

                                            

                  

                                            

                       
                                                                                              

                                                                                         
                                                                

                            

                          

                          

                             

                          

                     

                                               

                        

                            

                           

                           

                        

                         

                            

                       

                                             

                          

                         

                   
                                  7065       
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                         

                  

                                          

                            

                         

                    
                                                                                               

                                                                                          
                                                                

                                     

                                             

                             

                            

                             

                           

                            

                          

                          

                           

                

                                              

                           

                         

                           

                  

                                             

                         

                                   
                                     7066        
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                           

                          

                          

                                           

                           

                         
                                                                                              

                                                                                          
                                                                

                             

                        

                         

                              

                           

                        

                                           

                         

                    

                                           

                           

                          

                             

                            

                         

                          

                     

                                            

                                   
                                     7067        
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                                           

                          

                             

                         

                          

                          
                                                                                                    

                                                                                              
                                                                

                  

                                            

                              

                           

                           

                           

                            

                           

                                             

                          

                           

                     

                                           

                                       

                                                     

                       

                 

                                            

                  
                                 7068       
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                           

                          

                     

                                              

                           

                            
                                                                                               

                                                                                         
                                                                

                          

                         

                                           

                       

                                             

                     

                                               

                        

                                            

                        

                        

                         

                 

                                             

                          

                       

                         

                           

                 
                                7069      
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                          

                             

                           

                       

                                           

                  
                                                                                               

                                                                                           
                                                                

                                            

                             

                            

                          

                           

                          

                          

                             

                          

                          

                          

                         

                     

                                             

                          

                          

                          

                           

                         
                                 7070
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                                           

                        

                        

                          

                         

                    
                                                                                                

                                                                                        
                                                                

                                            

                         

                             

                           

                           

                         

                  

                                              

                         

                        

                     

                                           

                          

                         

                     

                                             

                           

                            

                   
                                  7071            
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                             

                 

                                        

                                       

                                           

                    
                                                                                                

                                                                                         
                                                                

                                              

                           

                        

                           

                     

                                              

                           

                  

                                       

                                           

                         

                                            

                          

                        

                                     

                                              

                         

                          

                  
                                 7072      
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                                            

                      

                                         

                       

                           

                         
                                                                                            

                                                                                       
                                                                

                           

                    

                                            

                             

                              

                            

                          

                                          

                                       

                                            

                          

                         

                             

                        

                   

                                            

                             

                         

                                   
                                     7073      
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                          

                         

                       

                           

                           

                       
                                                                                             

                                                                                        
                                                                

                                          

                           

                           

                           

                    

                                           

                         

                         

                          

                        

                   

                                         

                          

                       

                          

                         

                          

                                       

                                   
                                     7074       
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                                       

                                             

                         

                          

                         

                 
                                                                                                

                                                                                          
                                                                

                                         

                         

                            

                        

                  

                                          

                            

                          

                          

                         

                           

                           

                        

                 

                                           

                       

                         

                   

                                   
                                     7075          
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                         

                        

                          

                          

                    

                                           
                                                                                               

                                                                                          
                                                                

                         

                         

                  

                                           

                           

                          

                           

                          

                           

                           

                         

                           

                        

                 

                                            

                        

                          

                           

                  
                                 7076       
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                                       

                                             

                  

                                              

                        

                         
                                                                                              

                                                                                          
                                                                

                         

                          

                                             

                            

                          

                          

                         

                            

                             

                        

                                           

                        

                         

                         

                        

                          

                          

                        

                
                               7077    
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                                         

                          

                           

                       

                                            

                        
                                                                                              

                                                                                          
                                                                

                           

                           

                                     

                                           

                                             

                                            

                            

                          

                            

                           

                     

                                           

                         

                 

                                           

                                          

                         

                          

                                   
                                     7078      
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                                           

                          

                                           

                                             

                      

                                            
                                                                                             

                                                                                         
                                                                

                                          

                         

                            

                            

                                           

                            

                            

                  

                                            

                            

                          

                         

                          

                        

                          

                 

                                          

                             

                         
                                 7079
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                                           

                       

                  

                                           

                                           

                  
                                                                                             

                                                                                         
                                                                

                                              

                           

                            

                              

                     

                                             

                           

                           

                            

                         

                     

                                           

                            

                        

                        

                     

                                            

                     

                                   
                                     7080          
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                              

                          

                           

                           

                          

                          
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                             

                            

                         

                                            

                                            

                                            

                  

                                            

                                           

                                        

                                                   

         

         

         

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         

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         August                 buy              
         avoid                    categorical     client
         award                               causes           
         awarded          buyer  Celsee   client's
                                                   
         awhile                                             co
                                                            buyer's
                      B
                                                                            
                                          buying                     co-defendants
                                  bit
                                                                     
                                                            BY           
        b)(3)                  bye                   COLM
        bad     blank         bye-bye                          coming
        Bankruptcy         blocked                                  CELSEE            comment
                             body                        C           Celsee's        
        BARBARA        Book                                                  common
        Barbara                caches        CEO              
        bargaining    boston         calendar      certainly       
        based  bothered      California             
              bottom                                                
             bought      candid         challenge        
                                                   candidly     chance            
        basis bound                        changed          
               braces         candle        changing          
        bear   brain    cannot        characterized         
                              breadth       caption                             
        became         BRIAN                                 chemical          
        become         Brian          Carbide      Chen             
        becomes     brief       Chen's            
                                                         Circuit        
        BEFORE         briefed     care                                        
                                                                                                                  commonly
                                                                                       
        began                              case
                                                                                                                  communicated
                                                                                   
        begin          briefing            circumstance
        beginning                                                                 
                                                                                                                  communicating
                                                                            
                        briefly               circumstances
        behalf         bring                                          
                                                                                                                  communication
                                                                                       
        belabor                            
        benefit      bringing              cite    
                             broad                      
        between                                       cited     
                                                                                                                  communications
                                   
            broadly           
                                                             
              broke              cites             
             brought           citing            
                                        civil             
               burden            Civil            
                          CIVIL              
                                         claim          
        Bible
                                                   7083                                          
                                                                                                                  company
                                                      
        binding                                                     clarifies
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                                                  
               burdensome                clarify
                                                                                                                   
                                                                                      clause
                                                                              
        Bio    business    
                                                                                      cleaner
                                                                                                                   
                                                                                      cleaning
                                                                                               
                                                                                                                  compel
                
                                                                                      cleanly
                                                             
                                                            cases
               
                                                                                      clear
                                                                            
                                                                                                
                                                                                                                  compelled
                                              
                                                             
                                                                                                                  compelling
                                                        
               businesspeople      
                                                                                       
                                                                                      clearer
                                                                                                
                                                                                                                  competitive
               
                                  businessperson                               clearly
                                                             
                                                                                                                  completely
         
        Bio-Rad      
                                                             
                                                                                       
                                                                                                                                               

                                                                                                                                         
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                       contradict                                     
        complicated      contrary             DARALYN           delve
        concedes       conversation               data     delving
        concerned                            demand
                conversations                       demonstrate
                                               deponent
        concerning                                           deposition
                 convey                 date          
        concerns        conveyed                       
        conclude        conveying                    
        concluded                                                    
                              corporate           dated            
        conclusion                    Dave        
        concrete                  David              
                                           DAVID              
                              correct            deal   depositions
        conditional                                     
        conducted                   dealing       described
                                               designed
        confer                                                details
        conference                 deals         developing
                                                                                                    DI
                                                            Court
                                                                     
        confuse         correspond                                     December            difference
        confusing                                          
        connection    Cottrell                        different
                 COTTRELL                      
        CONNOLLY        counsel                        
        consequences                     decide           
                                                      decided         
        consider     Counsel                      difficult
              counter
                                                                     deciding          
                                   counter-proposal                                 decision       diligence
                                                             
         
        consideration                                                                                         disagree
                                                             
                                                            Court's
                                                                                   
                               counterparties                                          
        considerations                                                                                        disagreed
                                                                        
                                    
                                   couple                                     decisions       disclose
                                                             
         
                                   course                                  Defendant
                                                             
                                                                                                    
        considered                                                                                      disclosed
                                                             
                                                            Courts
                                                                        
                               COURT                                   defendant      
        considering                                                                                       discloses
                                                             
                                                            cover
                                                                   
        consistent                                         disclosing
                                                             
                                                            covered
                                                                         
        constitute                                                disclosure
        constitutes
                                                             
                                                            covers
                                                                                  
        consummated                                                               defendant-friendly
                                                            created
                                                                                                 

                                                            criminal
                                                                                           
                                                                                         defendants
         
        contain
                                                    7084
                                    Document 237-1 Filedcrystal
                                                                                                  
                                                                                                                     disclosures
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        contemplated
                                                                     
                                                            cut
                                                                      
                                                               
                                                                                 
                                                                                         defending
         
                                                                                                                     discover
                                                                           D
        content       
                                                          defense         
        contention                                                                                       discovery
                                                            damages
                                                                     
        contents                                         defenses         
                                                                                         definitive
                                         
                                                                                                                      
                                                                                         DELAWARE
         
        context             
                                                                                                                      
                                                                                         Delaware       discuss
                                        
         
        continue
                                          
                                                                                                   
                                                                                                                     discussed
                                         
                                                                                     
        Continued
                                                             
                                                            Daralyn
                                                                                       
        contract
                                                                      deliberations         
                                                                                                                                              

                                                                                                                                        
                                                                         

        discussion                                estimating           focus
               drawn    EUGENE                                  focused
                                              evaluate      facts       
        discussions        driven          evaluation                         focusing
                drop                               factually          
              dropped    eve          fair    FOLEY
                due      evidence            Foley
                       DURE                           folks
        dispute        DURIE                           follow
        dissatisfaction                  fairness         
                                                                                   followed
        distinction    Durie    exactly     fall               
                                          Fallon          following
              during       example              font
                                                    footnote
        distinguish                 Fallon's         
                         dwell                                                         
        distinguishable                                examples      familiar
                                                E
                                                                                                                      
                                                   exception    far        
        distinguishes                                                     
                              e-mail              FARNAN        
        distribution             excerpt                                  
        DISTRICT    e-mails       exchanged    Farnan            FOR
        District                     exclusive    faulting       force
                  easily         exclusively              forgive
        dive            economic      Exhibit                             forgot
        diversity                  favor            form
                              effect                           featured          formed
        division                            exhibits     February       former
                              effectively    exist                             forming
        doctrine    effort  exists     Federal        forms
                                                                            forth
                Eight           expect     federal
                                   element
                                                                                                                      
                                                             
                                expenses                 
               employee       expert     fees             foundation
                end                 few              frame
                       expertise    FIACCO              
                                             explain     Fiacco
        doctrine's
                                                                                                                      
                                   ending                                  figure           framings
        document
                                                                
                                   engaged        explains      file              Francisco
                       entered         explanation   filed            frankly
        document's          entitled       expressly   files     
                              entity                                                               fraudulent
        documents
                                                                                     
                                   equation        extending            Fred
                Erie      extent                       FREDERICK
                                   erroneous                                           financially                  free
         
                                                       7085
                                                                       
                                   error                                   Finger
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                                                                             Friday
                        escrow                                 FINGER            friendly
        dollar
                                                                
                                                              extra        fingertips       front
        done
                                    
                                           extremely    first      
                                   especially
                                                                             F
                                                                             
                               ESQ                                                           full
        doubt
                                                                                         
                                                                                                                    fully
        Dow
                                                                     
                                                              fact                              furthermore
        down
                                                                               
                                   essence                        
                        essentially                                       furthers
        draw
                                                                                         
                                   establish                          
                                                              factors    firstly
                                                                                                                      
         
        drawing
                                    
                                   established           flat
                                                                                                                                                        

                                                                                                                                                   
                                                                                

                      G          Hewlett       hypotheticals                       interrupt
                                                                                  invalidity
        game                                                                                                      invention
                                                                               I
                                                                           
        Gene                                                       investment
        general                                                  
                                                             idea
                                                                                                                                
                                                                                      investor
                                                             ideally
         
        generally                                                          involved
        GENOMICS                        identified                          
        Georgia    Hewlett-Packard     identity                         issue
                                          III                                  
                                                             Illinois
         
                                                                            
                                                                                              informative
                                                                                                             
        Georgia-Pacific           immediately
                                                                                              informed
                                                                                                                                
                      implications                                                
                                                                                                  
                                                                                              infringement
         
                                   important                                            
        given                                             
              highly                                   
        glad                                                                                      
        glitch       history          impression               inheriting            
        goal         HOAG                         initial               
        govern        Hoag                          input               issues
        governed     hold                inquiry               
        grasp                             inside           
        great                              instance          itself
        ground
                                                                                                                                          J
                                                                                 
                       holdback       impressions              instruct
        grounded                                
                                                                                              instructed        jargon
        grounds                                
                                 holding                                                  JASON
                                 holdings                                                     instructing                     Jason
         
                                                                              
                                 holds                                             instruction       JEREMY
         
                                                               
                                 Honor                                                                     Jeremy
         
        group                                                   
        guard                                             
        guess                                        Jersey
                                                             improper             instructions             joined
        guidance        
                                                             IN                                                joint
        guide                                                   
                                                             inapposite            intent
        guided
                                                                                       
                                                             inaudible
        Gunning
                                                                                         
                                                             INC
        guys
                                                                                        
                                         incidentally                        judge
                                                             include             interest      Judge
         
                                  

                     H
                                                                        
                                        included                          
        hand
                                         including                          
        handful
                                                                                                     
                                 Honor's          incorrect
        hard                                                                             
                                 HONORABLE7086
                                                                           

        hashing       
                                                      indeed                           
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                                               237-1 Filed 11/30/20 Page 77 of 169 PageID #:
        head
                                                                                                   
                                 hope      independent                                                      judge's
        heads                                                          
                                 hoped                                                                       Judge's
        hear                                             
                                 hoping                                               
                                 huge          independently                                                    judges
         
        heard                                                              
                                                                                                   
                                 hundred       indicate                                                         judgment
         
                                                                                  
         
                                                                                              
                                 hypotheses       indicated                                                        June
         
        hearing
                                                                                                
                                                                                              interested
                                                                            
                                 hypothesizing        indirectly                               
                                                             inextricably                                                     juries
         
        heart
                                                                                     
                                 hypothetical                                                                          jurisdiction
        held
                                                                                                
                                                                                              interesting
                                                               
        help
                                          information                                     
                                                                            
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                                    7087                                  
                                      

                   leaves                            
   juror           led                     
   jurors                                       
                     left                        
   jury   legal    lookback               
                     looked           
                               looking               
                               letter
              K
                                                                          
                                                        mention
                                                           mentioned
   keep                   looks             
                                         merged
   kind              lose                 merger
                      lost                 
                   Lozier                 


                                                                       M
                                                     
                                                          
   knowledge       liability                                       
   knowledgeable                 Magistrate         merits
                                             
                                                                                                                 middle
               L
                                                                
                               light                     
                                                                                        mcGowan
                                                                                                                  
                               likelihood                                        might
   laid       likely                    
                                                                                        McGowan's
                                                                                                                  
   language      limit                                        
                    limited                                    
   LaPointe                        mean    
                                                              
          limits                        mind
                          line                 
   largely                                                     minimal
   last
                                 
                                                                         minute
   late
                                 
                                                                        misapplies
   law
                                 
                               Line                          mislead
          lines             Magistrate's          missed
            literally        mail         misspoke
           litigation                            money
                mails    
                                                                                                                 month
                                                                                                                 morning
                                                                
                                                            Maine
                                 
                                                                       
                                                            majority
                                                                                             
                                                                                                                 most
                                                                     
                                 
                                                          
                                                            manner
                                                                                              
                                                                                                                 motion
                                                                             
   lawsuit                                    marshal
                                 
                                                                                         
                                 
                                                            Massachusetts
                                                                                                                  
                                                                                     
   lawyer
                                                                                              
                                                                                                                 motions
                                                                                     
                                 
                                                            material    
                                                                                                                 MR
                                                                                        meaning
     
   lawyers
                                 
                                                                             
                                                                                         
                                                                                        means
                      
                                                            matter
                                                                                                                  
                                                                           
                                                                             
                                                                                        measures
                                                             
   lawyers's
                                 
                                                            McGowan
                                                                                                                  

   lay                                                                      meet
                                                                                               

                                                                                        meet-and-confer
                                                         
   Layton
                                                                                                                  
                               live               
   LAYTON
                                                                                                                  
                               LLP                                       
                                                                                        mental
                                                             
   learn
                                                                                                                  
                               lodged            
   lease
                                                                                                                  
                               log                           
   least    logging                           
                               look
                                                    
                                                        
                                 
                                                                                                                                                      

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               
                                                                           O               outset      
                                                                    passes
                     o'clock            outside       past
                     objected          outweighed         patent
                                        overly             
                       objection       overstated         
                                            own        
            negotiations                                         patents
                                   owned           payments
                                                         pending
                               owning              
                                              owns               people
                                                             objections
                                                                                                           P
                                                                                   
                                                                               people's
                                     obtain                                          percent
            negotiators    occur              Pacific          
                                    occurred          
                                 negotiators's
                                                                                                                          
                                                               
                                                                 Packard         perfect
                                 never
                                                              
                                        occurring                      
                                    odds                        perhaps
              New              OF                            period
              new      off-the-table           
                                 next
                                                                                                                          
           
                                                                                               periods
                                                             office                                          permission
                                                      
              Nidec          Official                              permit
                    one    page      permitted
                                                                  
                                 NO
                                                                                                   
                                                                                                                         person
           
          MS
                                                                                            
                                 non
                                                              
                                                                                  
                                                                                                                         perspective
                                                        
                                 non-binding
                                                              
                                                                                                                         persuasive
           
          muster
                                                                         
                                                                                                                         Philippines
          mutually
                                                                            
                                                                                           pages
                                                              
                                 non-mental
                                                                                           paid
                                                              
                                 non-work
                                                                                                                          
                                                                                                                         philosophical
                    N                                                                      papers
                                                              
                                 nonbinding                                                                    
                                                             ones                                            philosophy
        name
                                                                                 
                                 nondisclosure        open                                    phrase
        named
                                                                                            
                                                                                           paragraph          phrased
        narrow
                                  
                                                                                           parol
                                                              
                                 noon            opened                                        pick
         
                                 normally                                       parse             piece
        narrowed
                                                              
                                 Northern        opening           part       plain
                                 note     opine                                           Plaintiff
         
        NDA
                                                                                            
                                                  opinion                              plaintiff
         
                                 noted                                         particular     
                                                                                           parties
                                                              
                                 nothing
                                                                                                                     
        necessarily
                                                              
                                 November         237-1 Filedopinions
                                                   7088                                                                   
        need
                                                                            
                                                             opposed
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                                                                                                  plaintiffs
                                 Novikov
                                                                        
                                                                                                                     
                                                             opposite                                        plausible
                                                                        
                                  
                                                             oral                                   play
                                                                         
                                  
                                 NOVIKOV                                                                     plays
                                                                       
                                                              
                                                             orally                                          point
         
        needs
                                                                                       
                                 number        order       
                                                                                           parties'
                                                                                                                     
        negotiating
                                                                                                      
                                                                                           party
                                                                                     
                                         ordinarily                                        
                                                             origin
         
        negotiation
                                                                        
                                                                                                                          
                                             ought              
                                                                                                                          
                                                             ourselves
                                                                        
                                                                                           party's
                                                                                                            
                                                                               
                                                                                                              
                                                                                                                                            

                                                                                                                                      
                                                                        

                     proffer                              reasons
                     proffered    questioning    rebuttal
                                             prohibited                         recitation
        points     privileged                      questions      recited
        policy                   prohibition         recites
        pondering        privileges    prominent           recognized
        portion        probative prong                  
                                     proper                 recognizing
        position           properly     quickly       recollection
                       proportionality                            
                  problem            quintessential       record
        possible         procedure                                          
        possibly      Procedure    proposal     quite      redepose
                         proceed       proposed      quote      reference
        post             proceeding  prospective
                                                                                                   R
                                                                                                                   
        postdate                              protect                                 
        potential      proceedings                                                            referenced
                                                                                      Rad
                                                               
                                    protected                               
                        process                          references
        potentially                 protection           referencing
                                proclivities                    referring
        practical                                    
                                produce    protections          refers
        practice                     protective             reflect
        practices     product   protects
                                                                                       
                                                                                                                   
                                                             prove
                                                                                       
                                                                                      raise
                                                                                         
        practicing       provide                             regard
                                                                                                                  regarding
                                                                                       
                                                                                      raised
                                    
        precedent              provided                                rejected
                                                                                       
                                                                                      random
                                                                                 
        precise                                  provides                                 relate
                                                                                      range
                                     
        preclude               provision                              related
        prefer                                       rather
                                                                                                 
        prejudice               provisions
                                                                                       
                                                                                                                  relates
        premise                                                            Rawnsley
                                                                                             relating
                                                                                      RAWNSLEY
                                                               
        prepare             pull                                       
        prepared             purchased
                                                                                       
                                                                                                                  relevance
        present                                                          reaction
                                                             purchaser
                                     
                                                                                      read
                                                                                                                   
                                                             purchasing
                                                                                   
        presented       
                                                               
                                                                                               
                                                             purpose
                                                                  
                                                                                      reading
                                                                                               
                   
                                                                                                  relevant
        presenting        
                                                             pursuant
                                                                                       
                                                                                      reads
                                                                                                                   
        pressing                                  pursue
                                     
                                                                                      reality
                                                                                                                   
        presumably
                                     
                                                                                      really
                                                                                                               
                                                             pursuing                                relied
                                     
         
        presume                                                                                       rely
                                                   7089
                                                                    
Case 1:19-cv-00862-CFC-SRF           Document      237-1 Filed 
                                                               11/30/20 Page 80 of 169 PageID #:
        pretty                                                                                       remain
                                                                   
                                                               
                                                             push                                      remains
                                                                   
         
                                                             put                                rent
                                                                  
         
        prevent                                                                                       repeat
                                                                  
                                                               
        prevented
                                                                   
                                                                                                               
        privilege                              putting                                  repeated
                                                                    
                                                                                                                  repetition
                                                                   

                                                                          Q
         
                                                                                                                  report
                                                                   
         
                                                                   
                                                                                      reappear
                                                                                               
                                                             qualification                             Reporter
                                     
                                                                                      reason
         
                                                             qualified                              reports
                                     
         
                                                                     
                                                                                          
                                                             quality                                representations
                                                                      
         
                                                                                                                                                   

                                                                                                                                             
                                                                           

                                                     set                                        
        representative       Rules         setting           stark     subsidiary
                 rules share                             substantially
        representatives                    Starks'             
                                            shared            stars              successor
        reproduce       ruling    shares           start            
        Republic             sharing                             sued
        request            shield            starting         sufficient
                                   short                                     suggest
        requests                          show     state            
                        rush                                           suggested
        requirement                               shown
                                                 S
                                                                                                             
        residuum                                 side    statement       suggesting
        resolve                                                                                            suggests
                                    sale
                                                                         
                                                             sides                      summary
                                    san
          
        resources                                sidetrack         
                                    sat
                                                                                                                         
        respect                                signed            statements
                                    schedule
                                                                                                                         
                                         significant                supplemental
                                                         simply          
                                    scope
                                                                                                     
                                                                       STATES              supposed
                                                                                          states
                                                              
                      sits
                                    Sealed
                                                                                                                         
                                                        sitting                                  
        respecting                                         status             Supreme
        respond                                                              stay
                                                              
                                        situation                                     surprise
                                                                                      stepwise
                                    search
                                                                                                    
                                                                                          still
                                                              
                                                 smart                                           surrounding
        response      second solely                  
                                sometimes       stock           synonymous
        responses       
                                    secrecy
                                                                                                    
                                                                                                                        system
                                                              
                                                        somewhat        
        responsive       Section
                                                                                                                                    T
                                                                                           
        rest     see
                                                              
                                                             sorry          
        reveal                                         
        revealing                                                             stop                          table
                                                              
                                                         
        revelations                                                                   
                                                                                          straightforwardly
                                                              
        reverse                sort                                             
        review           
                                                             sought                                      
        Richards        seeing                                    strategic
                                                             sounds                                         
                                    seek                                       strategies          
                                    seeking
          
                                                                                          strengths
                                                              
        RICHARDS                                                                                               
                                                                                          stretched
                                                              
        risk        space                                            
                                     
                                                             specific   strict            tactics
                                                                                                                        talks
          
        role                                        strictly
                                                                                          strikes            tangible
                                                              
        roll               
                                    seeks
                                                              
        room                              specifically    stringent            
                                                                                      structured      Tangri
                                    seem                                                              TANGRI
                                       
                                     Document 237-1 Filedspend
                                                    7090
                                                                                                                        team
                                                           PageID #:
                                                                                          stuck
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                                                             spent
                                     
                                    selective                                                               tease
          
                                                             squarely       stuff
                                    seller                                                                technical
          
        rule                                                    subject
                                                             stake
                                                                                                              
                                    selling                                                                 tee
                                                                       
                                                             stand
                                    sense
                                                                        
                                                                                          subjectively         
                                    sent
          
                                                                                                                        teed
                                                              
                                                             standalone       submission
                                    separate
          
                                                                                            
        Rule
                                                              
                                                             standing
                                                                                                                      
                                    September
                                                                                           
                                         standpoint        submit             
                                                             Stark
                                                                                                                     
                                    serve
                                                                         
                                                                               submitting          
        ruled   served                                    subsequent       Telephone
                                                              
                                                              
                                                                                                                                                   

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                                                                            

        telephone                                          withdrawn
                               therefore                        witness
        ten             they've                        
        terms                                       
                        thinking                                                 
        test                  types               valuing           
                               thinks        typically       verbally         
        testify                                                         view      
        testimony     Third
                                                                                U
                                                                                                     
                                                              won
                                    third                                               word
                                                               U.S.D.C.J
          
                                    throughout                                                   words
                                                               ultimate
          
        THE      Thursday                                      views          
                                    tied                                                    wore
                                                               unclear
          
             today                                virtual   works
                                           uncover                 worried
                                                               under
                                      
                tomorrow                                          
                took                        vs                worry
                                    topic                                                                  worth
                                                                                                           W
                                            
                                                                      
                towards        
                                                               underlying       wait
                                                                                                                          
                                                                                                 wound
                track                       write
                tracked                                   wrongly
                 tracks                            waive
                                                               understood             waived
                                                                                                                          
               transaction                                                             wrote

                                                                                                                                    Y
                                                        
                                                               unfair
                                      
                transcript                                  
                                            unfortunate             
                                                                                             waiver                      year
                                      
                                                                            
                                                               unfortunately                                      YOUNKIN
                                      
                                                        
                                                                             
                                                               Union
                                      
                 transcripts                         
                                    transfer
                                                               
                                    transferred
                                                                     
          
                                    translate      UNITED                      
          
                                    traunch         unnecessary             
                                                                                             waiving
                                                                                                                          
                                    treated
                                                                                                  
                                                               unquote             wants
                                    treating
                                                                                                       
                                           unrelated                    
                                                               unusual
                                      
                                    trial
                                                                                
                                            up     weaknesses            
                                      
                                                                                                  
                                                                                             Wednesday
                                            
                                                                                  
                                      
                                    tried
                                                                               
                                                   week               
                                                                                             weeks
                                      
                                    true
                                  7091                                           
Case 1:19-cv-00862-CFC-SRF
                Document        237-1 Filed 11/30/20 Page 82 of weighed
                                                                         169 PageID          #:
                                                                                                              
                                                                 
                                                                                             Westinghouse
                                      
                                    try
                                                                                  
                                                                       Younkin
                                                                                             whole
                  
                                                                                                      
                                      
                                    trying
                                                               
                                                        
                                                               Upjohn             widely
                  

                                                                                             willing 
                                      

                                                                                V
          
                                                                                             Wilmington
                     
        themselves             
                                                                                             wind
                                    turn
                                                               Valerie            Wisdom
                                    turned
          
                                                               validity
                                    turns
          
        theory
                                                                                              
                                                               value          wishes
                                    two
Case 1:19-cv-00862-CFC-SRF Document 237-1 Filed 11/30/20 Page 83 of 169 PageID #:
                                    7092




                    EXHIBIT B
                     FILED UNDER SEAL
Case 1:19-cv-00862-CFC-SRF Document 237-1 Filed 11/30/20 Page 84 of 169 PageID #:
                                    7093                                  1


     1                    IN THE UNITED STATES DISTRICT COURT

     2                    IN AND FOR THE DISTRICT OF DELAWARE

     3                                       - - -

     4
             10X GENOMICS, INC.,                :    CIVIL ACTION
     5                                          :
                               Plaintiff,       :
     6                                          :
                  vs.                           :
     7                                          :
             CELSEE, INC.,                      :
     8                                          :
                               Defendant.       :    NO. 19-00862-CFC-SRF
     9

    10                                       - - -

    11                                     Wilmington, Delaware
                                           Thursday, November 5, 2020
    12                                     9:30 o'clock, a.m.
                                           ***Telephone conference
    13
                                             - - -
    14
           BEFORE:    HONORABLE COLM F. CONNOLLY, U.S.D.C.J.
    15
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           APPEARANCES:
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    18                    RICHARDS, LAYTON & FINGER
                          BY: JASON J. RAWNSLEY, ESQ. and
    19                         FREDERICK L. COTTRELL III, ESQ.

    20
                                     -and-
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    23

    24
                                                       Valerie J. Gunning
    25                                                 Official Court Reporter
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     1     APPEARANCES (Continued):

     2
                         DURIE TANGRI
     3                   BY: DARALYN J. DURIE, ESQ.
                              EUGENE NOVIKOV, ESQ. and
     4                        DAVID F. McGOWAN, ESQ.
                              (San Francisco, California)
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     6                         Counsel for Plaintiff

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     8                   FARNAN LLP
                         BY: BRIAN E. FARNAN, ESQ.
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    10                              -and-

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                         FOLEY HOAG LLP
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                              JEREMY A. YOUNKIN, ESQ.
    13                        (Boston, Massachusetts)

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                               Counsel for Defendant
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     1                         P R O C E E D I N G S

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     3                   (The following telephone conference began at

     4     9:30 a.m.)

     5

     6                   THE COURT:    All right.    Can I have a roll call?

     7     Let's hear from plaintiffs, please.

     8                   MR. RAWNSLEY:     Good morning, Your Honor.      This

     9     is Jason Rawnsley of Richards Layton & Finger, and I'm also

    10     joined by Fred Cottrell from Richards Layton for the

    11     plaintiff.

    12                   Today we're joined by Dave McGowan, Daralyn

    13     Durie and Gene Novikov of Durie Tangri, and with the

    14     Court's permission, Mr. McGowan will be presenting the

    15     argument.

    16                   THE COURT:    Okay.   Thank you very much.      How

    17     about from defendant?

    18                   MR. FARNAN:    Good morning, Your Honor.       Brian

    19     Farnan on behalf of the defendant, and with me is Barbara

    20     Fiacco and Jeremy Younkin from Foley Hoag, and Mr. Younkin

    21     will be addressing the Court.

    22                   THE COURT:    All right.    Very good.

    23                   Before we begin, let me just give you some --

    24     why I decided to have a call on this.

    25                   First of all, I think it's a very interesting
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     1     issue, and by issue, I mean the common interest issue.           But

     2     I'm very concerned this is really not teed up.          I mean, I

     3     think that that issue is complicated.         I don't think there's

     4     any binding precedent, and it just doesn't seem to be teed

     5     up in a way that would permit me to make a really informed

     6     decision about the scope of the common interest exception

     7     under these facts.      That is one issue.

     8                   The second issue is the way it was teed up, I

     9     find it very confusing, because on one hand, the defendants

    10     have expressly stated in their letter to the Magistrate that

    11     they didn't want any attorney impressions.          Basically, in

    12     the footnote, as far as I'm concerned, they're basically

    13     saying we don't want work product and yet they seem to be

    14     pursuing work product.

    15                   And there's a footnote from 10X in its papers

    16     where it does raise a relevance objection, but I don't know

    17     that there was any kind of briefing or consideration in

    18     front of the Magistrate about proportionality and relevance

    19     and burden, so I want to hear about that.

    20                   So I think both parties can be guided in their

    21     arguments by what I've just shared.        And then I would ask at

    22     the outset from plaintiff to just tell me the status of

    23     things.    Was the deponent -- was there, in fact, a second

    24     deposition?    Where do things stand in terms of discovery in

    25     the case generally?      And so let's hear first then from the
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     1     plaintiff.

     2                   MR. McGOWAN:     Thank you, Your Honor.      This is

     3     David McGowan from Durie Tangri.        I will try and take the

     4     Court's guidance in I think reverse order.

     5                   Your first question was, is -- are the

     6     plaintiffs seeking mental impressions as opposed to some

     7     non-work product material.       The distinction that's being

     8     drawn that the Court references is between the merger

     9     negotiation and between the work product and the types of

    10     things that in these cases are considered work product,

    11     which would be, for example, an opinion letter from the

    12     underlying litigation was at issue in the Hewlett-Packard

    13     case, but the distinction is between what were the attorneys

    14     in the litigation thinking about and pondering inside their

    15     heads and what the parties to the merger negotiations said

    16     to each other across the table.

    17                   The across-the-table discussions we do not think

    18     are work product under Rule 26 or any precedent and they're

    19     also not deliberations that are inside the head.           They're

    20     statements in a negotiation.

    21                   If I might proceed stepwise and see if that

    22     clarifies the scope for the Court.

    23                   THE COURT:    Well, so I appreciate -- I mean,

    24     frankly, the way you just kind of did it, I mean, that's the

    25     way I do it, I think of it.       I'm not sure your papers did
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     1     that in front of the Magistrate especially because of the

     2     footnote you dropped.

     3                    And the way I looked at it is you had two

     4     depositions.     I read the papers last week, so I may get

     5     something wrong here.       But my recollection is the deposition

     6     conducted by Ms. Durie, the questions went to what was put

     7     into the data room, into the virtual data room.          Is that

     8     right?

     9                    MR. McGOWAN:    The question, the specific

    10     question that was teed up is what were the considerations

    11     that went to the holdback number with respect to the

    12     instruction that they're citing.

    13                    THE COURT:    Okay.

    14                    MR. McGOWAN:    So there are two different

    15     questions, the Court is exactly right.         And we are

    16     proceeding in view of that distinction, I think, in Exhibit

    17     D, Mr. Starks' deposition, the question that led to the

    18     instruction the defendant cites in its footnote, in its

    19     papers to this Court, that what were the considerations that

    20     led to the holdback number and there was an objection on

    21     work product and privilege ground.

    22                    THE COURT:    Right.

    23                    MR. McGOWAN:    In a subsequent corporate witness

    24     deposition of Mr. LaPointe, the questioning was drawn

    25     specifically to conversation, and when that question was
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     1     withdrawn specifically to conversations, there was not a

     2     work product objection.      There was an objection based on,

     3     quote unquote, "common interest privilege," which doesn't

     4     exist in our view as a standalone privilege.

     5                   There are two depositions.       There are two

     6     different framings of the question.

     7                   THE COURT:    Yes.   Let's go to the first, the

     8     first one, because -- hold on a second.         Give me a second.

     9     All right.

    10                   And this conversation points to why I've got

    11     concerns about the way the issue was teed up.          So I'm

    12     looking right now at document 204-1, which is the transcript

    13     of the deposition that Ms. Durie conducted, and at page 2

    14     87, there's a question.

    15                   And these -- incidentally, these questions and

    16     these responses were cited by you in your briefing.           And so

    17     the first question is found at line 16 of 287.

    18                   Question:    So can you tell me, do you know,

    19     Mr. Stark, what information Celsee provided Bio-Rad about

    20     the 10X litigation in the virtual data room?

    21                   And Mr. Younkin said, that's a yes or no.         You

    22     can answer that question.

    23                   And so the witness answered.       Actually, the

    24     witness asked for some kind of repetition.          And then if you

    25     turn to page 288, the question is repeated.          The witness
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     1     said, I believe I do, yes.

     2                    Then the question is:     What information did

     3     Celsee provide?

     4                    Mr. Younkin at that point objected:       I'm going

     5     to instruct the witness not to answer the question on the

     6     grounds that it calls for work product protection material.

     7     All right.

     8                    Then Ms. Durie asked:     Did Celsee provide

     9     information Bio-Rad about the 10X litigation outside of the

    10     virtual data room, and then again, there's an objection.

    11                    Now, this time Mr. Younkin says:       I'm going to

    12     instruct the witness not to answer that question as phrased

    13     on the ground that it calls for privileged and work product

    14     information.

    15                    So then if you go to the next page, page 289,

    16     the question that again where we have an objection is, the

    17     question is:     Did Celsee provide any information Bio-Rad

    18     about the 10X litigation outside the virtual data room

    19     between the time the letter of intent, the non-binding

    20     letter of intent was signed and the time the parties entered

    21     into the ultimate transaction?

    22                    The witness was permitted to answer that

    23     question initially, and then though there was an objection,

    24     and the objection was for both privilege and for work

    25     product.
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     1                   So in there, this witness I do see, the way I

     2     look at it is, there are two things now at issue with this

     3     witness.    One is questions that are being addressed about

     4     the contents of the virtual data room, there's a work

     5     product objection.      Questions that are addressed by the

     6     negotiations between the two parties, it looks at the very

     7     least it's privileged and perhaps it's also work product.

     8                   Then later on there's a question I think you're

     9     talking about, which says, did the parties -- this is on

    10     page 291 -- did the parties discuss in connection with

    11     negotiating this non-binding letter of intent whether the

    12     escrow holdback would include some for the 10X litigation?

    13                   And then on that one, there's a work product

    14     objection, not a privilege question, a work product

    15     question, and that's found at lines 19 to 22.

    16                   Then the next -- well, that's it, I think.

    17     Right?    So that's the first deposition.

    18                   So as I understand the objections for that

    19     deposition, there are really two issues.         One is, what's put

    20     in the virtual data room and that's a work product

    21     objection.    And then the second one is conversations between

    22     the two parties, and there's a, it looks like I will give

    23     you the benefit of the doubt, an attorney/client privilege

    24     objection and a work product objection.

    25                   All right.    Now, in your papers before the
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     1     Magistrate you say, we don't want any work product.           I mean,

     2     you say you don't want any attorney impressions.           That, to

     3     me, I'm treating synonymous with you don't want work

     4     product.

     5                   So what is it, you know, that you really want, I

     6     mean, when I look at that?

     7                   MR. McGOWAN:     So the note in the submission to

     8     the Magistrate indicated that we're not trying to delve into

     9     their files, which was a reference to the kind of material

    10     that is discussed in the Hewlett-Packard case, which is

    11     something that's created to the litigation, may have been

    12     transferred, but which exists on a standalone basis as a

    13     work product doctrine.      That would correspond possibly,

    14     because we don't know the contents, to something that would

    15     have been put in the data room, but it exists independently

    16     of the conversations and the negotiation.         It sits there and

    17     maybe somebody looks at it.       Maybe they don't.

    18                   It's not something that is said back and forth

    19     verbally or exchanged back and forth in an e-mail as a

    20     counter-proposal or something like that.

    21                   But I do believe that distinction tracks.         The

    22     30(b)(6) witness on this topic, Mr. LaPointe, which is in

    23     Exhibit B, and the instruction there is somewhat different

    24     as the scope was more highly drawn.

    25                   And I apologize, Your Honor.       When you were just
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     1     reading the second excerpt that you were reading, I missed

     2     the page number you were on.       The portion that I was

     3     referring to was on page 298, 3 to 14, which is what

     4     defendant cited in its submission to this Court.           My

     5     apologies.

     6                    THE COURT:   Right.    298.

     7                    MR. McGOWAN:    Eight to 14.    My apologies.

     8                    THE COURT:   And that is a specific question.

     9     It's another one.     I didn't read that one, but that's

    10     another one.     What were the considerations that led you to

    11     the                number, and there's an objection.        Don't

    12     answer because it calls for the disclosure of privileged and

    13     work product information.

    14                    MR. McGOWAN:    That's the, that's the reference,

    15     it's my recollection, that defendant cited in its submission

    16     to this Court saying that the defendant did instruct on work

    17     product grounds.

    18                    We then have the 30(b)(6) deposition --

    19                    THE COURT:   But this is my point.      You say you

    20     cite that to me.     What did you cite to the Magistrate?

    21                    MR. McGOWAN:    To the Magistrate, we did not

    22     understand that they were taking the position that the

    23     negotiations themselves are work product because the

    24     instruction to the corporate witness was the common interest

    25     instruction with respect to discussions.
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     1                   What we tried to do with the Magistrate is

     2     narrow this down somewhat.       We're trying to narrow it down

     3     somewhat here so that we present a cleaner issue in an

     4     effort to actually tee it up than is sometimes presented in

     5     the cases where you have underlying work product doctrine

     6     material.

     7                   So what we presented to the Magistrate was an

     8     effort to get at the back and forth, so I don't know if

     9     that's responsive to your question.        What we're focusing on

    10     both here and before the Magistrate is the communications

    11     themselves.    So if the Court's question is, where is the

    12     argument to the Magistrate, it would be in the transcript

    13     before the Magistrate at page 27.

    14                   And --

    15                   THE COURT:    Well, wait.    Well, let's go to your

    16     letter, because you've got to tee this up in your letter.

    17     So where is it in the letter?

    18                   MR. McGOWAN:     I mean --

    19                   THE COURT:    And the reason I'm getting at all of

    20     this because, see, I think this is a really important issue.

    21     Right?    It deals with privilege.      I don't think it was teed

    22     up really cleanly, and I'm not faulting anybody because

    23     there were a lot of discovery issues and it's in the middle

    24     of a deposition.     And I mean, frankly, the fact that it was

    25     the third issue is my recollection in the letter, it was
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     1     almost like it didn't seem this was the most pressing issue

     2     and yet I don't want to rush into a very important decision

     3     about privilege and work product when it really hasn't been

     4     teed up.

     5                   And then, and I think you are cleaning up things

     6     now, and, again, I'm not necessarily faulting for that, to

     7     try to make it like it's, you know, a narrow issue.           But,

     8     see, then that's why I want you to get back to the practical

     9     issue, which I asked you to open up with.         Where are things,

    10     because, you know, it's almost like we should just present

    11     this anew, and therefore it's important for me to think

    12     about proportionality issues, burden, probative value of the

    13     information being sought, and so that's why I want to know,

    14     where do things stand?      Did you, after the Magistrate ruled,

    15     was there another deposition of any witness?

    16                   MS. DURIE:    Your Honor, this is Daralyn Durie.

    17     May I address that issue?

    18                   THE COURT:    Sure.

    19                   MS. DURIE:    Your Your Honor, so we did take a

    20     second deposition of Mr. Stark.        It was extremely

    21     abbreviated and there were literally a handful of questions

    22     that Celsee permitted, but we were not able to get any

    23     further information from Mr. Stark on this topic.           The only

    24     information that he provided was the identity of the lawyers

    25     whose analysis had been referenced in the investor letter
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     1     and that was that.

     2                   THE COURT:    Okay.

     3                   MS. DURIE:    So from our perspective, this does

     4     remain very much a live and important issue.

     5                   THE COURT:    All right.    And where does the case

     6     stand?    See, this all became an issue right at the very end

     7     of fact discovery, or you tell me.        When did it come up in

     8     terms of the case schedule and where do things stand with

     9     the case schedule?

    10                   MS. DURIE:    It did come up towards the end of

    11     fact discovery and we are now in the process of submitting

    12     expert reports.

    13                   THE COURT:    All right.    So fact discovery is

    14     over?

    15                   MS. DURIE:    It is.

    16                   THE COURT:    All right.    You're in the middle of

    17     expert discovery.     Do we have a trial date?

    18                   MS. DURIE:    We do, Your Honor.      The trial

    19     date -- go ahead.

    20                   MR. McGOWAN:     I didn't mean to interrupt.       We do

    21     have a trial date, Your Honor, yes.        It's June 14th.

    22                   THE COURT:    June 14th of next year.      Okay.    When

    23     are summary judgment motions due?

    24                   MR. McGOWAN:     February 5th, Your Honor.

    25                   THE COURT:    All right.    What do you hope to get
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     1     from Mr. Stark?     Give me some examples of the information

     2     that you think you could get if there were no objections and

     3     explain to me its probative value.

     4                    MR. McGOWAN:    Okay.   Your Honor, this is Dave

     5     McGowan again.     I can respond to that.

     6                    If I may just note for the record, the answer to

     7     the question that you asked, where was it raised in the

     8     submission to the Magistrate, is at page 3 of the letter

     9     where both the Stark and LaPointe transcripts are cited in

    10     limited portion that we referenced.

    11                    THE COURT:   Okay.     Hold up, hold up.    It's page

    12     3 of the letter?

    13                    MR. McGOWAN:    Page 3.

    14                    THE COURT:   Right.     And you say, you just

    15     broadly say -- basically, you went through what I cited,

    16     which is the 287 to 291, 295 to 296, and then the one we

    17     just covered, 298 to 299.       Correct?   And then you also

    18     point to the LaPointe transcript at 55, 56 and page 59.

    19     Correct?

    20                    MR. McGOWAN:    Yes.    The LaPointe transcript is

    21     the distinction I was drawing earlier.         The LaPointe

    22     transcript is drawn to conversations and the assertion at

    23     those pages is common interest.

    24                    THE COURT:   And I read that.     I agree that that

    25     was teed up.     Okay.
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     1                   MR. McGOWAN:     In answer to the Court's question

     2     with respect to relevance and probative value, the

     3     communications between the two parties regarding the

     4     litigation are relevant to the issues certainly of

     5     infringement, damages, in the sense that what the buyer in

     6     these cases is asking is, what's going on in this case?            How

     7     do I think about it?

     8                   Now, this is just a stock acquisition.         This is

     9     not one of the cases where the buyer is getting a division,

    10     they're going to keep selling the product and wind up being

    11     a joint, joint defendant, which is what all the other cases

    12     are like, and it is a not a successor liability case as far

    13     as the defendants are arguing.

    14                   But what they are asking is, tell us how right

    15     we should be about this, how right do you think we should

    16     be, and the buyer and the seller are going to have different

    17     takes on that presumably, but they are going to talk about

    18     the underlying merits from a business point of view in the

    19     sense that they are going to translate the business

    20     practices of the defendant in the dollar terms based on

    21     whether the defendant is practicing the patent, the kind of

    22     information that is relevant to the Georgia-Pacific factors,

    23     how important is this business, what kind of a holdback do

    24     we need to cover ourselves, what implications does this

    25     have.
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      1                   When you go through the Georgia-Pacific factors,

      2     a lot of them are about the competitive position of the

      3     business team, the value of the invention.         In essence, how

      4     significant is this.

      5                   THE COURT:    Can I stop you for a second?

      6                   MR. McGOWAN:    Yes.

      7                   THE COURT:    So, all right.    So you are telling

      8     me that these negotiations occur when?

      9                   MR. McGOWAN:    These negotiations are in 2019.

     10                   THE COURT:    All right.    And what is the time

     11     frame that I'm supposed to consider in applying the

     12     Georgia-Pacific factors to ascertain damages or what a

     13     jury would be instructed to consider?        What is the time

     14     frame?

     15                   MR. McGOWAN:    So you're going to look at it on

     16     the eve of first infringement typically subject to the Book

     17     of Wisdom, which means that sometimes you can do a lookback.

     18                   To the extent that the negotiations are

     19     addressing --

     20                   THE COURT:    I'm not a patent lawyer.

     21                   MR. McGOWAN:    Sorry.

     22                   THE COURT:    I'm thinking Bible when you say Book

     23     of Wisdom, so I don't know what that means and I don't know

     24     what the clause you said afterwards.        But, you know, I don't

     25     have your expertise, so I have to go back to, so the
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      1     negotiations that we're talking about are occurring in 2019.

      2     Do you have a month?

      3                   MR. McGOWAN:    August is my recollection.

      4                   THE COURT:    Okay.   And then infringement for

      5     damages in the patent, this patent case, I'm supposed to

      6     look to Exhibit 8 of first infringement.         When is that

      7     alleged by you to have occurred, or actually by Celsee to

      8     have occurred?

      9                   MR. McGOWAN:    I need to look at it by month.

     10                   THE COURT:    That's all right.

     11                   MS. DURE:    Your Honor --

     12                   MR. McGOWAN:    I misspoke, Your Honor.

     13     Negotiation of the letter of intent is December of '19.

     14                   THE COURT:    December of 2019.     Okay.   But that's

     15     the letter of intent.      So beginning December of '19 and

     16     extending into what would cover the negotiations?

     17                   MR. McGOWAN:    So the date range is the case is

     18     filed in May.    The negotiation of the initial NDA is

     19     September of '19.     The letter of intent on which the

     20     Magistrate relied is December of '19.        The business

     21     transaction is done, the acquisition is in April of '20.

     22                   THE COURT:    Okay.   Great.   All right.     So it's

     23     going to be some time between December of 2019 and April of

     24     2020 when the conversations about which you would like to

     25     learn occurred.     Is that correct?
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      1                   MR. McGOWAN:    And if I can go back to the

      2     Court's --

      3                   THE COURT:    Sorry.    We didn't hear an answer.       I

      4     think it might have been a technical thing.

      5                   Am I correct, the time frame of the negotiations

      6     about which you'd like to discover evidence, those

      7     negotiations occurred between December 2019 and April 2020?

      8                   MR. McGOWAN:    That is correct, Your Honor.

      9                   THE COURT:    Okay.    Sorry.   All right.   Now, so

     10     then let's go back to date of first infringement.          What are

     11     we looking at?    What's the time frame for that?

     12                   MR. NOVIKOV:    Your Honor, this is Gene Novikov

     13     for 10X.

     14                   I can answer that quickly as folks try to

     15     marshal back.    December 8, 2018.

     16                   THE COURT:    December 8, 2018.     Okay.    All right.

     17                   So then, and forgive me, sir.       It's Mr. --

     18     what's your name again, sir?

     19                   MR. McGOWAN:    McGowan.

     20                   THE COURT:    McGowan.   Sorry.

     21                   So, Mr. McGowan, why is it probative what folks

     22     are thinking about in 2019, when I'm supposed to be looking

     23     at what occurred or at least I'm supposed to be using the

     24     time frame as of December 8, 2018?

     25                   MR. McGOWAN:    Sure.    Thank you, Your Honor.     And
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      1     I apologize for the Book of Wisdom reference.         I tried

      2     to clarify that.     I try to avoid jargon.      The Court is

      3     quite right, this is a general issue, not a patent specific

      4     issue.

      5                   To the extent that the business discussions bear

      6     on the question of what are the prospective damages from the

      7     case, part of that is going to have a liability element.

      8     Part of that is going to have a damages element.

      9                   The damages element, there should be no

     10     difference between what is said in the business discussions

     11     and the date of hypothetical negotiation, because the date

     12     of hypothetical negotiation is part of the damages input,

     13     and to the extent the business discussion and the merger is

     14     talking about what do we think that number will be, it's

     15     going to be talking about the process of estimating the

     16     value of litigation.

     17                   So from that point of view, there is no

     18     difference between what one would expect the business

     19     discussions to be focusing on and the analysis the Court

     20     would do in a damages context.

     21                   The reference that I made to the Book of Wisdom

     22     refers to the Supreme Court case and some District Court

     23     cases that indicate that in some circumstances, if there's

     24     relevant information during a period of time after the

     25     hypothetical negotiation, that can be taken into account as
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      1     well.    It is not prohibited.      It is true that under the

      2     Georgia-Pacific factors, typically look at the date of first

      3     infringement.    There's not a flat prohibition on considering

      4     subsequent evidence, and sometimes that happens.          And, for

      5     example, people are looking at changing the business

      6     practices, which one would expect to be part of an

      7     acquisition negotiation as well.

      8                    So --

      9                    THE COURT:   Okay.    Sorry.   Let me just push you

     10     back though.    Let's assume there were no negotiations.

     11     Right?   I'm going to go back, or the jury is going to be

     12     asked to go back to December 8, 2018, and consider the

     13     Georgia-Pacific factors.      Right?

     14                    Now, do the Georgia-Pacific factors include

     15     anything about the trial judge's proclivities or a

     16     philosophical approach to patent cases and damages?

     17                    MR. McGOWAN:   Ideally, they certainly don't say

     18     that, and one would expect that that is not something a

     19     juror would be instructed on.

     20                    THE COURT:   Okay.    Do they consider the quality

     21     of the lawyers that are engaged in the patent lawsuit that's

     22     before them?

     23                    MR. McGOWAN:   The Georgia-Pacific factors don't.

     24     I don't know if the Court is asking me two questions.           The

     25     jurors -- I think that would be up to them.
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      1                   THE COURT:    Well, okay.    That's fair because

      2     it's a pretty bad question.

      3                   My point is that we don't ask jurors, and, in

      4     fact, I think the law would preclude us from asking jurors

      5     in deciding whether damages should be awarded and how much

      6     damages should be awarded to consider all of the things that

      7     lawyers consider when they evaluate a case, right, which

      8     would include things like the quality of the judge or the

      9     philosophy or proclivities of the judge, whether the

     10     jurisdiction is a plaintiff or defendant-friendly

     11     jurisdiction, how good the lawyers are, how much time has

     12     been spent in developing the case, all of these kind of

     13     legal strategic things.      Right?

     14                   You would agree that that is what really goes

     15     into or at least it plays a prominent role in any assessment

     16     of the value of a case.      Right?

     17                   MR. McGOWAN:    I think with respect, Your Honor,

     18     I would provide qualified agreement.        I think that might

     19     reflect the litigation side, but I would not presume, and

     20     certainly I don't think there has been a proffer to this

     21     effect, that that is what the business discussions are

     22     about, because the business discussions from the buyer's

     23     side are, we're going to buy the stock of this company.           We

     24     see there's litigation out there and we need to pick a

     25     number to protect ourselves.
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                                     7115                                  23


      1                    It would surprise me, quite candidly, if the

      2     only thing the businesspeople talked about were things that

      3     business lawyers don't do day to day, which is proclivities

      4     of judges, this and that.

      5                    I certainly would not assume that the

      6     discussions that are the subject of the present motion would

      7     exclusively bear on specific factors unrelated to the

      8     business of the defendant, the infringement of the defendant

      9     and the economic consequences of that infringement.          It

     10     would surprise me if there were only litigation tactics

     11     discussed in a merger where you've got corporate people

     12     talking to each other.      If that's the testimony, then that

     13     would be the testimony, but we don't know that and I don't

     14     think we can assume it.

     15                    THE COURT:   All right.    Now, this is a stock

     16     acquisition.    Right?   You mentioned that?

     17                    MR. McGOWAN:   That's what the letter of intent

     18     states.

     19                    THE COURT:   What was the ultimate transaction?

     20     In what form did it take?      How was it structured?

     21                    MR. McGOWAN:   I don't have the answer to that

     22     question at my fingertips.      I believe it was consistent

     23     throughout, but I need to look that up.

     24                    So --

     25                    THE COURT:   So you don't know if it was a stock
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                                     7116                                  24


      1     acquisition or a merger, or we just don't know.          All we know

      2     is that at the time of the negotiation, Bio-Rad wanted to

      3     buy stock.    Right?

      4                   MR. McGOWAN:    At the time of the letter of

      5     intent on which the Magistrate relied, the letter of intent

      6     recites a stock date.

      7                   THE COURT:    Right.

      8                   MR. McGOWAN:    And I have nothing to contradict

      9     that.

     10                   THE COURT:    And I might have overstated it.

     11     Right?   It's not that -- I mean, it's probably more precise

     12     to say Bio-Rad was interested in purchasing stock.

     13                   MR. McGOWAN:    Correct.    It is a nonbinding

     14     letter on the system, and in our view, that distinguishes it

     15     from most of, on whole of the common interest case law,

     16     which there found to be a common interest.

     17                   THE COURT:    Right.   So I go back to understand

     18     how exactly this was presented to the Magistrate or how it

     19     ought to be presented today.       You know, in footnote 3 you

     20     write, 10X is not seeking attorney files or mental

     21     impression, but rather information concerning the

     22     negotiation of the agreement between counterparties, but

     23     then the questions you cite, at least a lot of them, go to

     24     the content of the virtual data room.

     25                   So maybe, I mean, is it fair to say that really,
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                                     7117                                  25


      1     you're not pursuing, you don't need to know what's in the

      2     data room?    All you want to know is what was said across the

      3     table?

      4                   MR. McGOWAN:    What we're pursuing in this

      5     submission is the across-the-table communications.          That

      6     would be for the e-mails.

      7                   THE COURT:    And you had an agreement, I think,

      8     right, that there would be no logging of documents that

      9     postdate the beginning of the litigation.         Is that right?

     10                   MR. McGOWAN:    That is correct.

     11                   THE COURT:    And you want what?     A 30(b)(6)

     12     witness to come in and just answer questions about what was

     13     said to Bio-Rad during the negotiation.        That's, at the end

     14     of the day, what you want.      Is that fair?

     15                   MR. McGOWAN:    Fair.   Yes, Your Honor.

     16                   THE COURT:    All right.    Anything else you want

     17     to bring to my attention?

     18                   MR. McGOWAN:    The only point that I'd like to

     19     make is that I believe that this can be done simply on the

     20     law just by looking at Rule 26, because in our view, the

     21     across-the-table communications and work product in the

     22     first instance.

     23                   THE COURT:    Wait, we had a technical glitch.

     24     Can you repeat that because I don't know what you said

     25     between privilege and work product, so can you just start?
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                                     7118                                  26


      1                   MR. McGOWAN:    Sure.

      2                   THE COURT:    What did you say?     We can resolve by

      3     looking at Rule 26 because what?

      4                   MR. McGOWAN:    Because we don't believe the

      5     across-the-table communications are work product in the

      6     first instance, and we believe the Magistrate treated them

      7     as being work product.

      8                   THE COURT:    Well, I mean, look, and this may

      9     be -- I mean, they could be work product to the extent if

     10     somebody from 10X said, my lawyer told me X, Y and Z because

     11     she thought blank because she thought A, B and C, I mean,

     12     that's work product.     Right?    It's communicating work

     13     product.   You would argue it's waiving it, but the point is,

     14     it is conveying the mental impression.

     15                   MR. McGOWAN:    Right.

     16                   THE COURT:    And you said you're not interested

     17     in getting those.     So that's why you, you know, say you're

     18     not seeking attorney mental impressions, so it seems to me

     19     based on that footnote, you shouldn't get to get work

     20     product even if it were weighed during the negotiation.

     21                   MR. McGOWAN:    And I apologize if it's unclear.

     22     I think that if a statement is made across the table,

     23     that's, A, not work product; and, B, if there were work

     24     product, it would be waiver, and we can talk about the

     25     Philippines case and selective waiver and all the rest.
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                                     7119                                  27


      1                    What we're trying to indicate in that footnote

      2     is, we're not trying to dive down into the underlying

      3     documents and the litigation files.        We're trying to

      4     distinguish what we're asking for in the Hewlett-Packard

      5     case, Sealed Air case, where they are trying to go down into

      6     the litigation files.       We're trying to stay across the

      7     table.

      8                    If across the table a lawyer or a businessperson

      9     in a corporate setting recites something, then that

     10     recitation is not work product, and it's strictly a waiver

     11     analysis, we think the error that we want to draw to the

     12     Court's attention is in treating those statements themselves

     13     as work product.

     14                    I believe the law on waiver would establish that

     15     the communication constitutes a waiver because we don't have

     16     the facts that were put within the common interest stock,

     17     but the distinction we're trying to draw is between

     18     litigation files and across the table, and I apologize if I

     19     was not clear on that point.

     20                    THE COURT:    Well, that's all right.     But, see,

     21     you know, the thing is, work product, it's a different test

     22     whether work product has been waived.        And would you agree

     23     that at least there are circumstances where an NDA -- let me

     24     start again.

     25                    There are circumstances where parties share
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                                     7120                                  28


      1     attorney impressions pursuant to an NDA and there would be

      2     no waiver because under Westinghouse, they did take

      3     appropriate measures to try to guard the secrecy of that and

      4     limit the distribution of that work product?

      5                   MR. McGOWAN:    I think that the answer to Your

      6     Honor's question is a qualified yes.        The qualification

      7     comes from the requirement in the common interest cases that

      8     there be a common legal interest as this Court said, in the

      9     Dow chemical case, such as co-defendants or anticipation of

     10     joint litigation.

     11                   Just for the record, I think that the rule on

     12     this is stated in the Philippines case, the Republic of the

     13     Philippines case at page 1429, where the Court says, a party

     14     who discloses documents protected by the work product

     15     doctrine may continue to assert the document's protection

     16     only when the disclosure furthers the doctrine's underlying

     17     goal.

     18                   I agree that work product and privilege have

     19     some different aspects.      The purpose of work product is to

     20     prepare for trial.     Rule 26 says, in anticipation of

     21     litigation or for use at trial.

     22                   It is not anything that happens because

     23     litigation is out there.      It's not the case that if I have

     24     to rent extra office space in order to accommodate the files

     25     of the case, that the lease agreement becomes work product
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                                     7121                                  29


      1     and is subjectively the reason I did it is because of the

      2     litigation.    It's a purpose driven doctrine, and the point

      3     is whether the communication in question furthers the

      4     purpose of the doctrine.

      5                   In the Hewlett-Packard case and the other common

      6     interest cases in Maine, disclosures are found within a

      7     common interest when there is a common interest such as

      8     being joint defendants, and the disclosure relates to that

      9     interest.

     10                   THE COURT:    Right.   Now, on this though, let me

     11     just stop you, because you didn't argue any of this to the

     12     Magistrate.    Right?

     13                   MR. McGOWAN:    I think that before the

     14     Magistrate, I think that what we did is argue that -- we

     15     argued the instruction we got.       We did not understand at the

     16     time that they were going to claim that, the defendant was

     17     going to claim that the negotiations were themselves work

     18     product, so what we argued was the common interest point.

     19                   THE COURT:    Right.   But, see, in fairness to

     20     them, I know you apologized for it.        You don't need to

     21     apologize, but you have.

     22                   I mean, I go back to how you presented it in

     23     footnote 3.    You said you're not seeking attorney files or

     24     mental impression, and that's why I began the conversation

     25     by just talking about dissatisfaction on my part in the way
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                                     7122                                  30


      1     the thing was teed up.      I'm not faulting anybody, but just

      2     that's the reality.     And a lot of the questions in the first

      3     deposition were really designed to find out what was in the

      4     data room, and I could see in the data room there being what

      5     would normally be called work product, like opinions of

      6     counsel about validity or invalidity of patents, things like

      7     that.

      8                   MR. McGOWAN:    Sure.

      9                   THE COURT:    But I'm just going to tell you right

     10     now, I mean, I think you've waived your right to pursue that

     11     because of the footnote, the content of the footnote says

     12     it, and it sounds like you're not pursuing the data room

     13     documents anyway.     So I think that I'm just going to go

     14     ahead and say that's the way I am going to rule, that you

     15     have -- by footnote 3, you waived your right, or at least

     16     you didn't tee up, and it's too late to do so now, to find

     17     out or obtain documents that would reflect the mental

     18     impressions of attorneys.

     19                   And, furthermore, it sounds like this morning

     20     you're saying you are not even pursuing documents from the

     21     data room at this point.      You want to limit the scope of

     22     your discovery requests to oral and e-mail communications

     23     between the parties between December 2019 and April of 2020.

     24     Is that right?

     25                   MR. McGOWAN:    Yes.    And just to go back to the
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                                     7123                                  31


      1     point you just made, it was at the end of footnote 3 where

      2     we say we're not seeking mental impressions, but information

      3     concerning the negotiation of the agreement.         What we're

      4     doing, in fairness, I think is consistent with the

      5     negotiations point even in that footnote.

      6                   THE COURT:    Well, but I raised it because I

      7     think it explains why -- you know, you say you didn't raise

      8     these, this issue of Westinghouse or what's the purpose of

      9     the disclosure.     You're faulting 10X.     I'm sorry.    You're

     10     faulting Celsee, and I'm not finding that very persuasive.

     11     It sounds like you have raised cases in the first instance

     12     before me that weren't addressed to the Magistrate.

     13                   MR. McGOWAN:    May I have one brief response to

     14     that, Your Honor?

     15                   THE COURT:    Sure.   Go ahead.

     16                   MR. McGOWAN:    As I said before, when we were

     17     going through exhibits, Exhibit G, by focusing on

     18     communication, we were focusing on the line of inquiry where

     19     the objection was straightforwardly common interest.           I

     20     don't think that there was any effort made at any point in

     21     time to establish that a negotiating statement is a work

     22     product statement, but the briefing before the Magistrate

     23     focused on the question whether there was a common interest,

     24     and we discussed the Hewlett-Packard cases on most of those.

     25     But I don't believe there was ever any effort to establish
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                                     7124                                  32


      1     that the communications were themselves work product.           The

      2     objection of the 30(b)(6) deposition, a common interest

      3     privilege.

      4                    THE COURT:   Well see, I disagree.      That's why I

      5     read it to you at the outset.       I mean 291:

      6                    Question:    Did the parties discuss in connection

      7     with negotiating this nonbinding letter of intent whether

      8     that escrow holdback would include some for the 10X

      9     litigation?

     10                    Mr.   Younkin:   Instruct the witness not to

     11     answer that question on the grounds it calls for work

     12     product.   That sounds like a work product objection.

     13                    MR. McGOWAN:     Right, but I was referencing the

     14     30(b) deposition.

     15                    THE COURT:   Well, okay.    All right.    But you

     16     cited before the Magistrate, and I thought that was -- the

     17     discovery issue is related to both depositions.

     18                    MR. McGOWAN:     It is.   The more specific to the

     19     communications in the negotiation I think is the 30(b)

     20     instruction.    That's the point that I'm making.

     21                    THE COURT:   Okay.   All right.    We have narrowed

     22     it now, I think.     We have narrowed it to all you want are

     23     oral and e-mail communications between December '19,

     24     April 2020, between Celsee and Bio-Rad relating to the

     25     escrow and fees, expenses and damages relating to this
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                                     7125                                  33


      1     case.

      2                   MR. McGOWAN:    I would say the litigation.       I

      3     don't know if there are things that are --

      4                   THE COURT:    Okay.

      5                   MR. McGOWAN:    -- related to the escrow that are

      6     in there, because we don't know what was said yet.

      7                   THE COURT:    Right.

      8                   MR. McGOWAN:    A fair summary.

      9                   THE COURT:    Okay.    That's where we are.     All

     10     right.    And you want to also get from that any statements

     11     that may have conveyed attorney mental impressions?

     12                   MR. McGOWAN:    Yes.    Anything that was said back

     13     and forth, our view is not work product in the first

     14     instance, and if it happened to convey work product does not

     15     fall within the common interest exception for waiver.

     16                   We have not discussed the details of the

     17     exception a lot, but it caches out to just what the Court

     18     said.    If there is a mental impression and an

     19     across-the-table statement, our request is that that would

     20     have to be disclosed as well.        What doesn't need to be

     21     disclosed are the things sitting in the files themselves

     22     or things just sitting in people's heads that were not

     23     stated.

     24                   THE COURT:    Okay.    And then on the merits -- I

     25     don't know if it's the right word, but on the common
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      1     interest issue, I mean, your position is it's a non-binding

      2     letter, the negotiating across the table from each other.

      3     It's a stock acquisition, so it's not like Bio-Rad has taken

      4     on the defense of this litigation and so the cases that are

      5     cited by 10X are inapposite.        Is that a fair summary?

      6                   MR. McGOWAN:    Fair summary, Your Honor.       Yes.

      7                   THE COURT:    Okay.    All right.   Let me hear from

      8     the other side then.

      9                   MR. YOUNKIN:    Thank you, Your Honor.      This is

     10     Jeremy Younkin.

     11                   I think if I may just at the outset point out

     12     that there were really two independent grounds for the

     13     Magistrate Judge's decision, and so one of them was the

     14     squarely work product.

     15                   And so as we have discussed today, 10X stated in

     16     their footnote that they were not interested in attorney

     17     mental impressions, and then the Judge asked, well, why do

     18     you want this information?

     19                   And they said, because we think, as we've heard

     20     today, that the negotiation is going to reflect the parties'

     21     views about the value of this case.        And, indeed, I think

     22     Mr. McGowan has made it clear, it's their theory this

     23     evidence is relevant because, you know, it's going to

     24     reflect, you know, quote, "how worried we should be and what

     25     are the underlying merits of the action and what are the
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      1     potential damages."

      2                   And when Magistrate Judge Fallon heard that, she

      3     said, I can't think of a clearer example of work product,

      4     and then she said, that work product protection was not

      5     waived because it is difficult to waive work product.           You

      6     need to do something that allows your adversary to find out

      7     the information, and that was not done here.

      8                   Celsee and Bio-Rad were talking to one another

      9     under a nondisclosure agreement about an acquisition and

     10     there was really no risk that 10X was going to get the

     11     information and so work product protection applies and it

     12     wasn't waived, full stop.      I mean, and that standing alone

     13     without even getting into common interest case law provides

     14     grounds to affirm Magistrate Judge Fallon's decision and

     15     finds --

     16                   THE COURT:    But I mean I feel bad for Magistrate

     17     Judge Fallon because I just think the way it was teed up was

     18     kind of unfair to her.

     19                   So let's go to the transcript that you've just

     20     recited.   What page are you on?

     21                   MR. McGOWAN:    Well, her statements, if you look

     22     at the very end on page 38 of the transcript.

     23                   THE COURT:    Right.

     24                   MR. YOUNKIN:    She says, in addition, even

     25     putting aside the common interest doctrine, so she is taking
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                                     7128                                  36


      1     that out of the equation, the work product doctrine affords

      2     an additional basis for protection of the information that

      3     plaintiffs plaintiff seeks to compel.

      4                    THE COURT:   Right.    Now, you know, it's not

      5     clear to me.    What is she talking about?        The information

      6     the plaintiff seeks to compel?        What's the information the

      7     plaintiff seeks to compel that she's referring to?

      8                    MR. YOUNKIN:   I think what she's referring to

      9     are the communications between Bio-Rad and Celsee about this

     10     litigation.    And so the way that this kind of came up, Your

     11     Honor, if you turn to page 28 of the transcript --

     12                    THE COURT:   Right.

     13                    MR. YOUNKIN:   Okay?

     14                    THE COURT:   I'm there.

     15                    MR. YOUNKIN:   Okay.    So this is Mr. Novikov

     16     arguing about why he says the negotiations of the escrow

     17     provision are not subject to common interest, and I will

     18     just point out that Mr. Novikov opened with this argument

     19     and so clearly 10X understood --

     20                    THE COURT:   Sorry, sorry.    What line were you on

     21     and then start again.

     22                    MR. YOUNKIN:   Page 28.    28, Line 7.

     23                    THE COURT:   Okay.    All right.    Got you.   Thanks.

     24                    MR. YOUNKIN:   Okay.    So this is 10X arguing, and

     25     they say that their assessments, meaning the Bio-Rad and
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                                     7129                                  37


      1     Celsee's assessments or representations as part of that back

      2     and forth about how much this litigation is worth, and then

      3     what financially they view the risk to be is certainly

      4     highly relevant to a number of issues.        And so Judge

      5     Fallon's reaction to that is found on page 36.

      6                   THE COURT:    Okay.

      7                   MR. YOUNKIN:    And if we look at line 16 --

      8     sorry, the beginning of that paragraph around line 10, she's

      9     talking about these communications.        I think there, clearly

     10     we're talking about the communications between Celsee and

     11     Bio-Rad about the escrow provision.

     12                   And then at line 16, she says, these go to the

     13     very heart of what the parties think about what this case

     14     ending in litigation is worth, and I can't think of a clear

     15     example of what might be protected by the work product

     16     privilege.

     17                   And, indeed, we've heard today that their whole

     18     theory of this evidence is that it will reflect each party's

     19     mental impressions about this litigation -- the strengths,

     20     the weaknesses, the damages.        And that sort of evidence

     21     is -- it's just product information.

     22                   THE COURT:    Hold on.    I agree with you.     All

     23     right.   So on that statement, I do understand that, and I do

     24     think there's no question about it.        Then I think we've got

     25     an issue about whether there's a waiver of disclosing it.
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      1                   MR. YOUNKIN:    Okay.

      2                   THE COURT:    And so the way I look at it is that

      3     because of footnote 3, that wasn't teed up.         In other words,

      4     the way I look at it is the footnote 3 -- sorry.          Hold on

      5     one second.

      6                   There it is.    In footnote 3, the statement that

      7     10X does not seek an attorney files for mental impression.

      8     So as far as I'm concerned, they don't get to get -- they

      9     are not asking the Magistrate to force them, to force a

     10     disclosure of mental impressions.        That wasn't teed up and

     11     so I'm going to affirm the Magistrate to the extent that she

     12     said that on page 36 that Celsee's evaluation, or, rather,

     13     Celsee's attorney's evaluation of the case is quintessential

     14     work product, I think that's true.        And why I am going to

     15     affirm her, I'm not sure this is the reason she made the

     16     ruling, but I'm going to affirm it is, you can't in a, what

     17     is effect effectively a motion to compel, which is the

     18     letter dated September 21, 2020, at DI 204, you can't say

     19     you're not seeking attorney files or mental impressions and

     20     then expect to get them.

     21                   So I don't have to get into whether or not there

     22     was a waiver of work product during the course of these

     23     negotiations or not because that issue in my mind wasn't

     24     properly brought up to the Magistrate, and, in fact, it was

     25     essentially -- it was waived, and so I'd affirm her on that
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      1     issue.

      2                   So now what I think is left though -- well,

      3     what's left in the negotiation and the back and forth, okay,

      4     where there's not a disclosure by Celsee about the

      5     impressions of their attorney as far as valuing the case,

      6     but there are negotiations, other statements they made that

      7     do not reveal work product.

      8                   Now, why shouldn't 10X get that information?

      9                   MR. YOUNKIN:    Well, I don't think actually that

     10     they are seeking that information.        I mean, I think --

     11                   THE COURT:    Well, I mean, I think Mr. McGowan is

     12     seeking that information.

     13                   Mr. McGowan -- wait.     Let me just ask him

     14     because I thought it was pretty clear, that's what he wants.

     15     He just wants as well any disclosures that included work

     16     product.

     17                   Mr. McGowan, that's what you are seeking.

     18     Right?

     19                   MR. McGOWAN:    The Court is correct.      If it's

     20     across the table, it s the subject of our submission to the

     21     Court.

     22                   THE COURT:    Right.    But, okay.

     23                   MR. YOUNKIN:    Okay.   But I think we're

     24     potentially talking past each other here.          I mean,

     25     Mr. McGowan's position is anything said across the table he
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      1     wants, and I think Your Honor just said, well, if it's work

      2     product material, you don't get it.

      3                    THE COURT:   Correct.

      4                    MR. YOUNKIN:    And so my -- right.

      5                    THE COURT:   But there's still a lot of other

      6     information.    I mean, in other words, a person across the

      7     table could say, he could say, I think the case is worth

      8     this much, or she could say, I don't know who the 30(b)(6)

      9     witness is going to be.       She could say, you know, we think

     10     the case is worth this much, or she could say -- I mean, she

     11     could make revelations about a lot of stuff without

     12     disclosing work product.

     13                    MR. YOUNKIN:    Your Honor, I disagree with that.

     14     I think if somebody says I think the case is worth X, that

     15     is a disclosure of -- I mean, that's protected by the work

     16     product, because that is one party telling the other party

     17     its mental impression about the value of the litigation,

     18     which is, of course, informed by, as I said, that's clearly

     19     a mental impression about the value of the case.

     20                    And so --

     21                    THE COURT:   Hold on.   Attorney work product goes

     22     to the attorney's mental impression.        Now, the client might

     23     agree with the attorney or disagree with the attorney, but

     24     the client's ultimate mental impression is not the

     25     attorney's mental impression.
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      1                   The other thing is, and I'm sure you're

      2     familiar, I mean Upjohn, all the work product cases

      3     distinguish between fact and opinion.        And so what I want

      4     you to focus on now, so this is the issue.         I'm basically,

      5     I'm not going to allow Celsee to get a disclosure of the

      6     mental impressions of 10X's attorneys.        Okay?   They've

      7     waived that by their footnote.       So to that extent, I'm

      8     affirming the Magistrate.

      9                   What remains to be decided is, what about the

     10     rest of the negotiation?      And I am concerned that the

     11     Magistrate Judge read too much into AgroFresh.          I'm

     12     concerned that AgroFresh and the other cases upon which you

     13     rely don't really apply here, and yet I'm also concerned, as

     14     I mentioned in my questioning of Mr. McGowan, about how

     15     probative is this stuff and is it even wore worth the burden

     16     of a deposition.

     17                   And, you know, I see where you drop a footnote

     18     in your papers in front of me based on relevance, but did

     19     you do that in front of the Magistrate?        Did you argue

     20     proportionality or burden or relevance in front of the

     21     Magistrate?

     22                   MR. YOUNKIN:    I believe that I noted it during

     23     the hearing, Your Honor, but really, the way that the issue

     24     was teed up was, it was an argument to that privilege

     25     instructions given at a deposition were improper, and so
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      1     that was their argument, and so we were defending the

      2     privilege instruction.

      3                   I did note at the hearing that the relevance

      4     argument seemed a bit stretched, but certainly, we weren't

      5     instructing the witness not to answer a question at a

      6     deposition based on relevance grounds.

      7                   I do think --

      8                   THE COURT:    I've got the transcript in front of

      9     me, where did you say that or something about burden,

     10     relevance, or any considerations, proportionality?

     11                   MR. YOUNKIN:    Yes.     And this may have been --

     12     this may have actually been in connection with the first

     13     argument.

     14                   Yes.   I mean, so to be clear, the statement is

     15     that I was referring to is on page 19 and it really is

     16     dealing with the first of the two arguments that were before

     17     her.

     18                   THE COURT:    Okay.    So the bottom line is, you

     19     really didn't argue proportionality or overly burdensome or

     20     even relevance as a basis to prevent further deposition of

     21     this 30(b)(6) witness.      Correct?

     22                   MR. YOUNKIN:    Not with respect to this argument.

     23     That's right.

     24                   THE COURT:    Okay.    So then I think we're stuck.

     25     Right?   So then I do have to, it looks like, address the
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      1     common interest doctrine and whether it applies.          Is that

      2     fair?

      3                   MR. YOUNKIN:    I actually don't think that that

      4     is correct, Your Honor, because I think that the waiver, the

      5     waiver rules around a work product are much more stringent

      6     than the waiver rules --

      7                   THE COURT:    I'm not going to give them work

      8     product.   I've already said that.       You've won that.

      9                   MR. YOUNKIN:    They don't -- okay.      I think there

     10     is still an open question about the limits of that though,

     11     because, firstly, I do need to say that the work product

     12     doctrine does not just protect attorney mental impression.

     13     It also protects the mental impressions of a party about

     14     litigation, so that's number one.

     15                   Number two --

     16                   THE COURT:    All right.    So, wait.    Now, this is

     17     an example of, unfortunately, you guys are asking me to make

     18     a pretty, you know -- there are few things more important

     19     than attorney/client privilege and attorney work product.

     20                   Do you have a case that says that if I ask a

     21     client about the client's mental impressions, that that is

     22     prohibited by the attorney work product doctrine?

     23                   MR. YOUNKIN:    Well, Your Honor, yes.      I think

     24     that just the plain language of Federal Rule of Civil

     25     Procedure 26(b)(3) --
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      1                   THE COURT:    All right.    Hold up.   Let me pull it

      2     up.   26 what?

      3                   MR. YOUNKIN:    (b)(3).

      4                   THE COURT:    Okay.

      5                   MR. YOUNKIN:    Okay.   So, and this is Section A.

      6                   THE COURT:    All right.

      7                   MR. YOUNKIN:    Which is basically the work

      8     product rule.    And it says, ordinarily, a party, 10X, may

      9     not discover documents and tangible things that are prepared

     10     in anticipation of litigation or for trial by or for another

     11     party, another party, or its representatives, including the

     12     party's attorney.

     13                   And so a party, you know, a company gets a

     14     demand letter or something and the CEO works on it and forms

     15     a mental impression about the value of the case.          That can

     16     clearly be work product.      And so when you have --

     17                   THE COURT:    Well, I didn't say it couldn't be,

     18     but --

     19                   MR. YOUNKIN:    I was just trying to make the

     20     point that work product protection is not limited to an

     21     attorney's mental impressions, that it also covers a party's

     22     mental impressions about a litigation.        And here, that's all

     23     they want.    All they want is a party's mental impressions

     24     about this case, and I think Judge Fallon heard that and she

     25     said, that's clearly work product.        You don't get that.
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      1                    And, you know, I think in this case, too, I

      2     mean, attempting to tease out, you know, even if you were to

      3     say, well, okay.     Let's try to distinguish the lawyers's

      4     mental impressions from the negotiators mental impressions,

      5     I mean, I'm not even sure how you could possibly do that,

      6     which is why I say, they're only interested in the mental

      7     impressions.    If the discussions do not reveal or reflect

      8     what a party thinks about this case, they don't want them.

      9     That's their whole theory of relevance here, which is why I

     10     think the Magistrate Judge said, that's what sounds like

     11     what you want is work product.       You, 10X, have to show

     12     waiver of work product and you can't do that because the

     13     parties were talking under a nondisclosure agreement and

     14     there is no risk that that information would get to 10X.

     15     And you can do that just based on the waiver rules around

     16     work product without even delving into, you know,

     17     Hewlett-Packard and the common interest body of case law.

     18     It's just independent grounds of affirmance.

     19                    And I do not think --

     20                    THE COURT:   So let me just ask you this.       Let's

     21     say Bio-Rad at the last minute said, we're not doing this

     22     deal and, or let's say Celsee said we're not doing it and

     23     then Bio-Rad sued Celsee.      Are you telling me that those

     24     negotiations, they would never see the light of day in a

     25     Court if there was a dispute over the meaning or, you know,
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      1     the way the negotiations went?

      2                   MR. YOUNKIN:    I don't know the answer to that

      3     question, Your Honor.      I mean, I think it's possible in that

      4     situation that --

      5                   THE COURT:    Well, it happens all the time.       It

      6     happens all the time when there's a negotiation that doesn't

      7     get consummated or gets consummated and the parties argue

      8     about it.    As long as parol evidence is admitted, if you

      9     have then an ambiguous contract or something, this is the

     10     kind of evidence that comes in under the parol evidence

     11     rule.

     12                   MR. YOUNKIN:    Well, the parties -- the parties,

     13     of course, are free to waiver work product if they decide to

     14     in a litigation, and here, that's not being done.          The

     15     parties are, you know, making their work product objection.

     16                   I also want to make just one point about it

     17     seems like Mr. McGowan is drawing this distinction between

     18     the documents in the data room, which he, I think, now

     19     concedes is off-the-table and communications that were made

     20     in a negotiation, but there's no reason to draw a

     21     distinction between those two things.        It's just, it's just

     22     the form of communication.

     23                   And so if we all agree that if an opinion of

     24     counsel gets put into the data room and there's no waiver,

     25     then the same thing should apply if the contents of the
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      1     opinion of counsel are disclosed in an oral communication or

      2     an e-mail.

      3                   THE COURT:    I don't think he said that and I

      4     don't need to rule on that because I've already said he

      5     doesn't get work product.      He doesn't get work product

      6     because they took the position in footnote 3 that they

      7     weren't seeking it.     All right.

      8                   So the only question is, do they get the

      9     communications that went back and forth between the parties.

     10     I mean, to me, I mean, I don't think it has huge probative

     11     value, but as you said, you didn't make that argument.

     12                   Now, the good question is, you know, they're

     13     making a new argument, you could argue, so can I just

     14     consider now, like what's the relevance of this material?

     15     What would be the burden to produce it?        But you have not

     16     said anything in that regard even though I've asked.

     17                   MR. YOUNKIN:    Well, I mean, I think that I mean

     18     I would point to the footnote that we make in the response

     19     to the objection, and I would also say that the

     20     circumstances have changed a bit because, you know, where we

     21     find ourselves right now is November 5th, the plaintiffs

     22     served an opening damages report, so we already have their

     23     expert opinion on what she thinks the damages in this case

     24     should be, and we're about to serve our rebuttal report on

     25     Friday, tomorrow.
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      1                   And then what they want to do is have a

      2     deposition in the next couple of weeks, I guess, that they

      3     think is going to uncover evidence that's going to bear on

      4     damages, and so then what are we going to do?         Supplemental

      5     reports, you know, as we head towards summary judgment in

      6     February?

      7                   I mean, just from a practical standpoint, you

      8     know, it's going to be difficult.        Like I said --

      9                   THE COURT:    Have you considered what kind of

     10     burden it would take to go review all the different e-mails

     11     and communications between 10X and Bio-Rad?         You didn't log

     12     the material.    Right?    Have you even conducted a search for

     13     the material?

     14                   MR. YOUNKIN:    I don't, I don't know the answer

     15     to that question.     You know, these requests, the requests

     16     for the Bio-Rad discussions in particular came in pretty

     17     late in discovery.     We objected to them.      There was a little

     18     bit of hashing things out.      But I mean I think that we have

     19     been pretty clear that we weren't going to produce these

     20     communications, you know, going way back.

     21                   And, really, I mean, the issue really got teed

     22     up around this, the deposition as opposed to responses to

     23     document requests.     But like I said, Your Honor, I think

     24     that we still have to address this issue of we all agree

     25     that they're not entitled to work product information, but I
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      1     think it still leaves open a question, well, what is work

      2     product information?     And Judge Fallon said, communications

      3     about this litigation are covered by the work product

      4     doctrine, and that conclusion, we submit, is not clearly

      5     erroneous, and 10X has not shown that it was.

      6                   They are not asking for communications about,

      7     you know, some random provision in this merger agreement.

      8     They are asking for communications about the litigation.

      9     That's all they care about.

     10                   THE COURT:    Well, there was no work product

     11     objection lodged to the 30(b)(6) witness.         Right?   It was

     12     based solely on the objection on the common interest

     13     exception.

     14                   MR. YOUNKIN:    But the common interest exception,

     15     I mean, I don't think that's mutually exclusive of work

     16     product.   Really, what the common interest exception is

     17     saying, the underlying privilege was not waived.           And, by

     18     the way, the LaPointe deposition happened first, and so they

     19     understood kind of what our position was, I think, and if

     20     they had any questions about it, they could approach further

     21     with Mr. Stark, the witness who is actually involved in the

     22     negotiation, and they didn't.

     23                   And so they asked him specific questions.         You

     24     know, what were the considerations that led to this escrow

     25     provision?    And I was there and I objected to work product
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      1     grounds.   And as I think you said, it really couldn't have

      2     been clearer.

      3                    And then in the meet-and-confer, which

      4     Mr. McGowan didn't attend, work product was featured.           I

      5     mean, I was telling Mr. Novikov that I thought that work

      6     product prevented him from getting this information.           And so

      7     they understood this was an issue, which is why they dropped

      8     a footnote to address it briefly in their letter.

      9                    And then when we got to the argument,

     10     Mr. Novikov opened up by arguing that communications about

     11     this negotiation, about the negotiation of this merger

     12     agreement are not covered by the work product doctrine.

     13                    So that was aired, and the Magistrate Judge

     14     disagreed and said, no, that those communications are

     15     covered by the work product doctrine.

     16                    THE COURT:   So why don't you explain to me why

     17     communications with another party that's trying to buy, is

     18     interested in purchasing your stock, why would my

     19     communications with that entity constitute work product?

     20                    MR. YOUNKIN:   Because the content of the

     21     communication is a mental impression about the litigation,

     22     and so just as a side note here, the deal is being

     23     characterized as a stock deal.       I mean, this is an

     24     acquisition.    Right?   Bio-Rad bought it.      They own it now.

     25     It's not just they bought ten percent of the shares or
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      1     anything like that.     Bio-Rad purchased, acquired,

      2     100 percent of Celsee.

      3                   THE COURT:    Okay.

      4                   MR. YOUNKIN:    But so if there's a negotiation

      5     happening and under an NDA where a defendant in a lawsuit is

      6     talking about somebody who wants to buy them and the

      7     defendant says to the potential acquirer, let me tell you my

      8     mental impressions about this litigation, okay.          So what is

      9     being communicated is a mental impression that had been

     10     formed in connection with the litigation.

     11                   And the disclosure of that mental impression to

     12     the other side is not a waiver in the same way that, you

     13     know, if you had -- you know, a general counsel sits down

     14     and says something like, you know, here are the defenses to

     15     this, to this claim, here are the arguments that I think,

     16     you know, are good ones that we're making, those are his or

     17     her mental impressions.      And if you disclose that to a

     18     potential acquirer under an NDA, under the very strict rules

     19     surrounding waiver, which they had the burden to prove,

     20     there is no waiver, and that's what Judge Fallon held and

     21     she was correct.

     22                   THE COURT:    Well, I'm having a hard time.       You

     23     know, you cite 26(b)(3)(A).       I mean, that deals with

     24     documents and tangible things.       So, A, that is off the

     25     table.   We're not talking about that.       We're talking about
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      1     conversations, number one, and then we're talking about

      2     e-mails that are sent to Bio-Rad.        They are not in

      3     anticipation of litigation.       I mean, you've got to

      4     demonstrate to me why they would be.

      5                    I get where it may be within those documents

      6     they are conveying what 10X's lawyers thought about the case

      7     and they are not getting that.       We've already discussed

      8     that.    So I want us to go back and narrow the scope of what

      9     is really being addressed.

     10                    Now, I do think it's, you know, it's informative

     11     that they are buying all the stock, so they are taking over,

     12     they're basically taking over the case, and they are, is it

     13     fair to say then they are at least indirectly inheriting the

     14     liability in the litigation in your view?

     15                    MR. YOUNKIN:   I mean, subject to the terms of

     16     the merger, which address this.

     17                    THE COURT:   Okay.   What does it address?      What

     18     does it say?

     19                    MR. YOUNKIN:   Well, there are -- I mean, there

     20     are --

     21                    THE COURT:   Actually, what does the letter of

     22     intent say?    Let's focus on that, about what happened to the

     23     litigation.

     24                    MR. YOUNKIN:   The letter of intent says that

     25     Bio-Rad will acquire a hundred percent of Celsee, and then
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      1     it goes through some of the money payments.         I do not

      2     believe that it talks about -- you know, then it says we're

      3     going to do due diligence and it doesn't mention the

      4     litigation, I don't think, just looking at it quickly,

      5     expressly.

      6                   The merger agreements does contain provisions

      7     that squarely address the litigation, including how it's

      8     going to be paid for, and those are, those are the

      9     provisions that 10X wants discovery on.

     10                   But, again, if you have -- let's just say you

     11     have two businesspeople sitting across the table from each

     12     other and one businessperson says, as Mr. McGowan asked, how

     13     worried should we be?      How could that question possibly be

     14     answered without revealing the attorney's mental impression?

     15                   THE COURT:    Very easily.    You just don't

     16     disclose what your attorney said to you or wrote to you.

     17                   MR. YOUNKIN:    But the negotiators, the

     18     negotiators's view on that is inextricably tied to what his

     19     lawyers are telling him.      A businessperson is not an

     20     independent view of the potential liability separate and

     21     apart from information that has been given to him by

     22     lawyers.   No way is he forming a judgment about that.

     23                   THE COURT:    Well, I don't find that argument

     24     very compelling.

     25                   So, Mr. McGowan, here's where I am.        It just
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      1     strikes me that I don't see how I would let into evidence in

      2     front of a jury any statements that were made during the

      3     course of the negotiations, because I think if I applied

      4     Rule 403, I would conclude that the probative value here

      5     would be substantially outweighed by a number of

      6     considerations.     I think it would confuse the jury and

      7     potentially mislead the jury because I don't think any of

      8     the statements that might have been made during the

      9     negotiation with respect to the value of the litigation or

     10     potential damages award, I don't think that it would be --

     11     it would be fair or proper to have the jury try to parse,

     12     well, how much of that is based on things that the jury

     13     should never think about, some of the legal strategies and

     14     assessments about juries, about judges.        I just think it

     15     would -- and I think the probative value is limited.

     16                   Now, I have not heard anything about burden

     17     from 10X, but I really just question why we need to have

     18     teed up --

     19                   MR. McGOWAN:    May I respond, Your Honor?

     20                   THE COURT:    Yes.   Sorry.   I was hoping you

     21     would.   Thanks.

     22                   MR. McGOWAN:    I just wasn't sure if the Court

     23     was concluded.

     24                   Let me suggest that a 403 ruling usually has the

     25     benefit of the proffered testimony, so there's something
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      1     concrete to rule on.     Part of the discussion we've just been

      2     having is hypothesizing what the testimony might be, and if

      3     Bio-Rad comes in and makes its own statement, that's what

      4     we've looked at.     Says, yes, we've got a problem there.        It

      5     feels very different from the kind of hypotheses that 10X's

      6     counsel was just making.

      7                   I think the way to cut through all of this is to

      8     actually adduce the testimony respecting the Court's work

      9     product, the way the Court has ruled, but the Court I think

     10     is correct, that that is not everything.         And I agree that

     11     back and forth across the table in a merger in a hundred

     12     percent stock acquisition, I don't think that makes a

     13     difference in the common interest doctrine.         But I think

     14     that kind of evidence comes in all the time.         I don't think

     15     there's a plausible work product decision there.

     16                   So I think the way to cut through this is to

     17     respect the Court's ruling that it has made on work product,

     18     recognized that there was some residuum, then find out what

     19     it is and then have a concrete piece of testimony or a

     20     concrete question that can be addressed.         That's what I

     21     would suggest.

     22                   I feel as though making assumptions about what

     23     might be the case is not a good way to resolve the question

     24     of admissibility or a question of burden when that hasn't

     25     really even been briefed.
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      1                   And --

      2                   THE COURT:    Well, I said, I used the conditional

      3     language when I said it, and I said it with the hope that

      4     you might think the odds of it coming in are so minimal,

      5     that you wouldn't pursue it.        But you are not willing to do

      6     that, and I'm not making a definitive 403 judgment because I

      7     don't have something specific in front of me.         I was just

      8     sharing with you my general thought process based on your

      9     explanation of how this information you hoped to get would

     10     be probative.    It is just I didn't find it really, really

     11     compelling.

     12                   MR. McGOWAN:    Sure.    If I can just -- let me

     13     just -- I don't want to dwell too much in hypotheticals, but

     14     the Court alluded earlier to the idea that, well, maybe

     15     Bio-Rad makes a comment that is not -- and a Celsee person

     16     agree with it.

     17                   THE COURT:    Wait.    You broke off again.     You

     18     said Bio-Rad makes a comment and then I lost you.

     19                   MR. McGOWAN:    And then a Celsee person agrees

     20     with it and says, yes, that's true.        That could be a

     21     liability issue, not a damages issue.        That's a response to

     22     a comment.    That's not work product in any respect.

     23                   Now, what the Court would do with that, would

     24     think about that in a 403 context would depend, I think, on

     25     the question, and the Court would have something concrete to
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      1     look at.   But I really feel as though with respect to the

      2     Magistrate's ruling, that the premise that the non-mental

      3     impressions across the table testimony is not work product,

      4     I think that's a matter of law.       I don't think there was any

      5     foundation laid to show that it's work product and I don't

      6     think there has been any laid here.

      7                   So I think that ruling was incorrect with

      8     respect to the traunch of communications the Court has

      9     identified this morning.

     10                   Then the question becomes, if I take the Court's

     11     point to be is the game worth the candle with respect to

     12     that bit of information.      We're looking at a June trial

     13     date.   I don't think this -- I have not heard a reason why

     14     this should take a huge amount of time, but I think that in

     15     order to follow the legal rules of work product and

     16     admissibility, we really need to see what the evidence is so

     17     concrete decisions can be made.

     18                   MR. YOUNKIN:    If I can respond to that?

     19                   THE COURT:    Yes.   Sure.   Go ahead.

     20                   MR. YOUNKIN:    I mean, you know, Courts make

     21     relevance calls all the time before we know what the answer

     22     is.   That's what -- I mean, when you are ruling on a motion

     23     to compel a document request, the question is, you know,

     24     what is the question?      What are the documents you are

     25     seeking and are those relevant?       Can you show that they're
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      1     relevant?

      2                    And, you know, and prejudice and burden can play

      3     a role in that as well.       I mean, here, we're here on a

      4     motion to compel answers to questions that were asked at a

      5     deposition.    This shouldn't be, you know, open up, have a

      6     whole deposition.     They should come in here and say, point

      7     to the transcript.     Here's the question I asked.       It was

      8     blocked.    I would like an answer to that question.

      9                    And I don't think that Mr. McGowan can point to

     10     any questions that were asked where, you know, he feels like

     11     he needs the answer in order to make an argument that, you

     12     know, that passes 403 muster.

     13                    MR. McGOWAN:    May I respond, Your Honor?

     14                    THE COURT:   Sure.

     15                    MR. McGOWAN:    The instruction given in

     16     Exhibit G, the corporate deposition, was a categorical

     17     instruction.

     18                    MR. YOUNKIN:    That issue has been waived.      I

     19     mean, what they asked Magistrate Judge Fallon for was a

     20     deposition of Mr. Stark.      They did not ask for a new

     21     30(b)(6).    They didn't ask for Mr. LaPointe to reappear.

     22     They said, this is in --

     23                    THE COURT:   All right.    So, hold on.    This is

     24     the first, you know, that somebody has said that to me.

     25     Maybe it's in the papers, but this is -- again, I go back
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      1     to, it just wasn't really presented, at least something that

      2     I would grasp immediately.      So hold on.

      3                   So the pending motion is solely to redepose

      4     Mr. Stark.    Is that right?

      5                   MR. YOUNKIN:     Yes.    Footnote 1 in their letter

      6     brief to the Magistrate Judge.

      7                   THE COURT:    All right.     Hold up.   Well, this is

      8     made in the context of another argument.

      9                   MR. YOUNKIN:     Well, the proposed order is to

     10     produce Mr. Stark to provide deposition testimony as a

     11     corporate representative.      I mean, Mr. Stark wasn't our

     12     corporate representative on any topic.        He is a former

     13     employee.

     14                   THE COURT:    Okay.     So, you know, now I'm looking

     15     at it, it does say, Celsee should be compelled to reproduce

     16     Mr. Stark to testify as its corporate representative

     17     concerning the negotiation of the merger agreement.          I mean,

     18     that's a 30(b)(6) witness.      They want Mr. Stark to be the

     19     witness because they think he's probably most knowledgeable,

     20     but I mean, they're asking for a 30(b)(6) witness.          They

     21     just want it to be Mr. Stark.         That's on page 3 of your

     22     letter, DI 204.     I don't think they've waived their right to

     23     have a 30(b)(6) witness given that language.

     24                   Okay.   Anything else anybody wants to bring to

     25     my attention?
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      1                   MR. YOUNKIN:    I mean, we've been going for

      2     awhile, Your Honor, so I don't want to belabor the point.           I

      3     will just say though that I think you have really focused on

      4     this one prong of the Magistrate Judge's decision, which I

      5     think is fully sufficient to affirm, which is the no waiver

      6     of work product, but there is a separate and independent

      7     ground around the common interest doctrine, and I think that

      8     what, you know, what 10X is trying to do here, you know, and

      9     I think that they've been pretty candid about it, is

     10     basically get this Court to rule for the first time in

     11     Delaware at the Third Circuit that you cannot have a common

     12     interest when you're in merger talks.        A common interest

     13     doctrine simply doesn't apply there.

     14                   THE COURT:    No.   So I don't view it that

     15     broadly.   I mean, frankly, I would prefer not to opine,

     16     period, because I don't think -- because of the manner in

     17     which the issues were brought to me and brought to the

     18     Magistrate.    But I don't think they're asking for as broad a

     19     ruling as you just said.      Am I correct?

     20                   MR. YOUNKIN:    At the hearing they told the

     21     Magistrate Judge -- I mean, their position is that

     22     Hewlett-Packard was wrongly decided and that it should no

     23     longer be followed.     And the Magistrate Judge says, well, if

     24     I agree with you, is this going to (inaudible) privilege

     25     whenever there's a merger?
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      1                   And they candidly said, yes, they would like the

      2     District of Delaware to say that Hewlett-Packard was wrongly

      3     decided and it's not the law in Delaware.         And so that when

      4     parties -- and they would like the Court to follow, you

      5     know, other cases, like out of Illinois that say that when

      6     parties are in a merger negotiation, there's no common

      7     interest.

      8                   It's just not the law in the Third Circuit.           I

      9     mean, the Sealed Air case rejected that, rejected that

     10     argument squarely and then there's a Bankruptcy Court in

     11     Delaware that did the same.

     12                   And so I think that they are candidly saying

     13     that they would like, that they would like Your Honor to

     14     rule that Hewlett-Packard is not the law of Delaware and

     15     that that line of cases --

     16                   THE COURT:    First of all, when you say that the

     17     law -- so actually, this gives me a perfect example.           In

     18     fact, I'm glad.     I forgot to raise this and I really should

     19     have at the outset, but it's a perfect example of why I mean

     20     this is not teed up for me.       And let me ask Mr. McGowan

     21     first.

     22                   Mr. McGowan, are you there?

     23                   MR. McGOWAN:    I'm here.

     24                   THE COURT:    So what law of privilege should

     25     guide, should I follow?
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      1                   MR. McGOWAN:    To the extent that -- Rule 26 is

      2     the answer to the Court's question.        To the extent the

      3     common interest doctrine has been recognized and we're

      4     dealing with a federal question case, then I think on work

      5     product, it's always Rule 26.

      6                   THE COURT:    Wait, wait, wait.     So hold on.

      7     We're not dealing with work product.        I already ruled on

      8     work product.

      9                   MR. McGOWAN:    Right.

     10                   THE COURT:    So we are only dealing with

     11     privilege.    All right?    So what rule applies?

     12                   MR. McGOWAN:    Okay.    I apologize.    When the

     13     Court said privilege, so the rules that the Court would be

     14     bound by I believe would be Third Circuit.

     15                   The rule --

     16                   THE COURT:    When you say -- wait.      When you say

     17     rule of the Third Circuit, so when the Third Circuit

     18     addresses a privilege, doesn't it look to the state law, the

     19     state law privilege that's relevant?

     20                   MR. YOUNKIN:    So it depends on the basis for

     21     jurisdiction in my view, Your Honor.

     22                   So in a diversity case, for example,

     23     attorney/client privilege with respect to causes of action

     24     grounded in state law would be governed by state law.           With

     25     respect to work product, state law is not relevant because
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      1     it's a rule of civil procedure, and under the Erie doctrine,

      2     the Federal Rules govern.

      3                   THE COURT:    But we're not dealing with work

      4     product.   Right?    I only have a brain, I've got a limited

      5     brain.   I'm not as smart as you guys.       The reason why I'm

      6     bringing up work product, I lose track of things.          I'm only

      7     interested in this issue and no one briefed this.

      8                   So let help out again with --

      9                   MR. YOUNKIN:    Sure.

     10                   THE COURT:    -- when I'm making a privilege call

     11     in a patent case in the Third Circuit, does it matter

     12     whether the lawyers are from one jurisdiction or another?

     13     Does it matter -- you tell me.        How do I figure out, because

     14     the states have different views about what's privileged or

     15     not.   Correct?

     16                   MR. YOUNKIN:    I agree with that, Your Honor, and

     17     I don't want to repeat the Rule 26 phrase if I can call it

     18     that because I don't want to sidetrack this discussion.

     19                   The common interest doctrine is not an

     20     independent privilege.      It is an anti-waiver rule.      So if

     21     the question is how does the common interest doctrine relate

     22     to some underlying privilege against disclosure, then the

     23     answer to what law the Court looks to depends on the basis

     24     of jurisdiction.     In a patent case, we don't need to worry

     25     about that.    It's a federal question.
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      1                   The common interest doctrine is largely federal

      2     common law, which I understand is not supposed to exist, the

      3     Erie case, but it has been absorbed out of the criminal

      4     cases starting with joint defense and it has now become a

      5     case law doctrine.

      6                   So the answer to the Court's question, the

      7     exception is a federal case law exception, the underlying

      8     privileges or protections against disclosure are Rule 26 in

      9     this case, because I don't believe there has been an

     10     attorney/client privilege argument in this case and we can

     11     set that aside.

     12                   You were correct, if it were attorney/client

     13     privilege, then you would have to look to see if it's

     14     diversity or federal question, then federal question would

     15     be under the rules and would probably absorb common law of

     16     the state in which the communication was made, but that's

     17     not important to the Court's decision here, I don't think.

     18                   THE COURT:    What --

     19                   MR. McGOWAN:    So if I can --

     20                   THE COURT:    Go ahead.

     21                   MR. McGOWAN:    So if I can respond on the common

     22     interest question, I don't think that we're asking for a

     23     ruling of the breadth that counsel just described and I also

     24     don't think the Hewlett-Packard case is the font of all

     25     knowledge.
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      1                   This Court, the District of Delaware,

      2     established the rule applied in Hewlett-Packard in the

      3     Union Carbide case with reference to protective shield

      4     in cases such as co-defendants or anticipated joint

      5     litigation.

      6                   Hewlett-Packard has a broad policy discussion of

      7     how important it is for business deals to get done, but its

      8     very specific holding tracked the Union Carbide case.           And

      9     in the Hewlett-Packard case, the issue was sale of a

     10     division where the seller had been practicing the patent for

     11     the sale and the buyer was going to practice after the sale,

     12     so in all likelihood they would have wound up on the same

     13     caption as defendants with respect to different periods of

     14     time.

     15                   The Sealed Air case, when it goes back to

     16     Hewlett-Packard and reads it, also applied the joint

     17     litigation test that goes back to this Court's 1985 ruling

     18     in Union Carbide.

     19                   And our point is then the Sealed Air case is a

     20     successor liability case.      It's a little unusual because the

     21     parties were worried that the transaction itself was going

     22     to be a fraudulent transfer of assets, but the Court made

     23     very clear that the liability of the seller and the buyer

     24     was the same liability.

     25                   So using the Union Carbide rule and its whole
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      1     stars of co-defendants for joint litigation, that's what the

      2     case is recognizing a common interest against Lozier turned

      3     on.

      4                    The reason I mentioned the stock acquisition is

      5     acquiring even a hundred percent of the stock of a company

      6     doesn't really matter, doesn't put the buyer on the same

      7     caption.   It gives it an economic interest in the company

      8     whose assets it holds, but I've not heard Celsee suggest

      9     that Celsee has been merged into Bio-Rad so that it's now

     10     Bio-Rad.   I haven't heard it suggested that it's no longer a

     11     standalone company.     What has been suggested I believe is

     12     that its stock is now owned by somebody else.         That's not

     13     Hewlett-Packard, Sealed Air, and it's not the Union Carbide

     14     test.

     15                    So I don't think that there needs to be any

     16     broad ruling or very general statement about the common

     17     interest doctrine.     If we just follow the actual facts and

     18     holdings of the cases and bring it back to its origin, I

     19     think that that doctrine doesn't apply in this circumstance.

     20                    THE COURT:   Okay.

     21                    MR. YOUNKIN:   If I may, Your Honor, I need to

     22     point out --

     23                    THE COURT:   No.   Go ahead.   I think that the

     24     challenge for you is that Union Carbide addressed a

     25     situation where there was, where both parties were likely to
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      1     be involved in what the Court called "anticipated joint

      2     litigation," and we don't have that here, do we?

      3                   MR. YOUNKIN:    Well, what we have here is a

      4     company that is the -- that now owns, 100 percent owns a

      5     party to litigation.     And I don't think that there's

      6     anything in the case law that suggests that this question

      7     turns on whether or not post acquisition the acquiring

      8     company is going to be added as a named defendant in the

      9     case.   I think that that is a much too narrow reading of

     10     these cases and it's not what they argued.

     11                   I mean, what they argued to the Judge, to

     12     Magistrate Judge Fallon, was Courts have widely rejected the

     13     contention that a company and a potential purchaser who sat

     14     on opposite sides of the bargaining table share a commonly

     15     owned interest in contemplated or pending legal proceedings.

     16     That was the argument they presented to her, and she said,

     17     that's not correct.     That's not correct under Sealed Air.

     18     It's contrary to AgroFresh and it's contrary to the

     19     Hewlett-Packard line of cases.

     20                   The cases that they cite are completely

     21     different from our case.      They cite a case where somebody

     22     was going to buy a majority share of a company, just a

     23     majority share, but that's just an investment.

     24                   When you buy 51 percent of a company, you might

     25     have an economic interest, but that is completely different
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      1     from owning the company.      You know, owning 100 percent of

      2     it.   It's a subsidiary at that point.       Right?

      3                   And --

      4                   THE COURT:    Yes, but I mean --

      5                   MR. YOUNKIN:    The way the deal was structured --

      6                   THE COURT:    Have you read Judge Chen's opinion

      7     in Nidec?    I mean, he really braces the history of the

      8     common interest privilege, and one thing he points out is

      9     that the parties have to have a joint legal interest and we

     10     don't have that here.      Right?   There there's no joint legal

     11     interest, is there?     It's economic.

     12                   MR. YOUNKIN:    Well, I think it's the same

     13     interest you see in Sealed Air or you see in

     14     Hewlett-Packard.

     15                   Nidec, all that was happening in Nidec was --

     16                   THE COURT:    You know, you keep saying

     17     Hewlett-Packard, and you say, oh, it's binding in Delaware.

     18     I mean, Judge Chen didn't go with Hewlett-Packard.          Right?

     19                   MR. YOUNKIN:    I'm not suggesting --

     20                   THE COURT:    A Delaware case, which is Union

     21     Carbide, but even it's not binding.        You know, why --

     22                   MR. YOUNKIN:    I agree with you, Your Honor.

     23                   THE COURT:    Yes.    Why should I give more to

     24     Hewlett-Packard that I give to Nidec?

     25                   MR. YOUNKIN:    Well, I think for two reasons.
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      1                   One, I think that Nidec is distinguishable

      2     because there, you have a situation where an investment

      3     group is trying to buy the majority stake of a company.

      4     They are not going to own it.       That's number one.

      5                   Number two, Hewlett-Packard has been -- has been

      6     followed in the Sealed Air case out of New Jersey, and also,

      7     you know, we think that it is the correct, it's the correct

      8     decision.

      9                   But, you know, as I think we've been talking

     10     about, I mean, what they tried to do in a very short letter

     11     brief to the Magistrate Judge was get a ruling, and the

     12     transcript is crystal clear on this.        The Magistrate says,

     13     the Magistrate asked them, if I find in your favor, won't

     14     that mean that there's no common interest when there's

     15     merger discussions?     And the answer was, yes, I think that's

     16     right.

     17                   And the Magistrate Judge said, I don't think

     18     that is the law.     And it's their burden now to come in and

     19     say that she, that she, like, misapplies binding precedent.

     20                   And then they point to Nidec, which is a

     21     factually distinguishable case out of the Northern District

     22     of California.

     23                   THE COURT:    All right.    Anything else?

     24                   MR. McGOWAN:    I could comment further if the

     25     Court wishes it.
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      1                   THE COURT:    No.    You know, I had hoped this

      2     argument would make it unnecessary for me to have to address

      3     the legal issue, but I guess it doesn't look like I'm going

      4     to be able to do that, and, frankly, it's going to take me a

      5     little bit of time.

      6                   What I would like is, I'm going to give you

      7     chance by next Wednesday to file a letter no more than

      8     750 words to address what is the applicable law of privilege

      9     to make the decision.      You know, Mr. McGowan, you can answer

     10     orally that question, but I think I wouldn't mind seeing

     11     both parties respond to that.

     12                   Whether I might look to state law, federal law,

     13     federal common law and also just to lay out how I make that

     14     decision, what's a starting point for that decision, and

     15     then what is the applicable privilege law and common

     16     interest law.    All right?

     17                   MR. YOUNKIN:    You want both parties to submit on

     18     the same day, Your Honor?

     19                   THE COURT:    Yes.   Why don't you do Wednesday at

     20     noon, so you both have to do it at the same time.          You know,

     21     I think the unfortunate thing about this is, you know, you

     22     guys have to keep going with the calendar here and I'm just

     23     bothered because I still continue to think at the end of the

     24     day, I doubt this has really much probative value and, you

     25     know, I've got to spend -- we just have limited resources
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      1     and the cases are, I don't want to take the case off the

      2     track its on as far as proceeding to trial in June, but

      3     we'll just have to do what we do.

      4                   All right.    Anything else from the plaintiff?

      5                   MR. McGOWAN:      No.   Thank you, Your Honor.

      6                   THE COURT:    All right.    Anything from the

      7     defendant?

      8                   MR. YOUNKIN:      No, Your Honor.   Thank you.

      9                   THE COURT:    Thanks, everybody.     Bye-bye.

     10                   (Telephone conference concluded at 11:14 a.m.)

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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   10x GENOMICS, INC.,                       )
                                             )
                          Plaintiff,         )
                                             ) C.A. No. 19-862-CFC-SRF
                 v.                          )
                                             ) FILED UNDER SEAL
   CELSEE, INC.,                             )
                                             )
                          Defendant.         )
                                             )

                      DECLARATION OF CHRISTIAN LAPOINTE
                         IN SUPPORT OF MOTION TO SEAL
         I, Christian LaPointe, if called upon as a witness could competently testify to

  the facts set forth below:

         1.     From August 2019 to March 2020, I served (part-time) as General

  Counsel for Celsee, Inc. (“Celsee”).      After Celsee was acquired by Bio-Rad

  Laboratories, Inc. (“Bio-Rad”) in April 2020, I continued to serve as (part-time) in-

  house counsel, under a contract with Bio-Rad, to provide legal services for Celsee

  in this litigation.

         2.     The agreement by which Bio-Rad acquired Celsee includes an escrow

  provision. The acquisition agreement, and the escrow provision contained therein,

  have not been made public.

         3.
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                                                                    .

        I declare under the penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct.

        Executed on November 20, 2020 at Boston, Massachusetts.



  Dated: November 20, 2020
                                                           /s/ Christian LaPointe
                                                            Christian LaPointe




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                   REDACTED
